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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NEW YORK


    JOSIAH GALLOWAY,                                    PLAINTIFF’S LOCAL
                                 Plaintiff,             CIVIL RULE 56.1(b)
                                                        COUNTERSTATEMENT
                     -against-
                                                        19 CV 5026 (AMD) (JMW)
    NASSAU COUNTY, et al.,

                                 Defendants.

        Pursuant to Rule 56.1(b) of the Local Civil Rules and Rule 4.B.i of the Individual

    Practices of this Honorable Court, plaintiff respectfully submits the following

    counterstatement to defendants’ joint Loc. Civ. R. 56.1(a) statement in connection with

    their application for a pre-motion conference:

    1. Plaintiff Josiah Galloway (“plaintiff” or “Mr. Galloway”) is a resident of Nassau
       County, New York. See Fourth Amended Complaint (“FAC”) (Exhibit A), at ¶12.

       Response: Undisputed. However, plaintiff respectfully notes that an unverified
       pleading – as cited by defendants here – is inadmissible at summary judgment. See
       Loc. Civ. R. 56.1(d) and this Court’s Individual Practice Rule 4.B.i. (requiring
       citation to “admissible evidence”). In any event, this assertion is immaterial because
       this is a § 1983 action arising under this Honorable Court’s original federal question
       jurisdiction.

    2. Defendant Nassau County (“County”) is a municipal corporation organized under
       the laws of the state of New York. See https://www.nassaucountyny.gov/

       Response: Undisputed.

    3. Defendant Incorporated Village of Hempstead (“Village”) is a municipal
       corporation organized under the laws of the state of New York. See Village Answer
       (Exhibit C), at ¶14.

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       Response: Undisputed. However, this is improperly supported.

    4. At all relevant times, Defendant Steven Horowitz (“Det. Horowitz”) was a member
       of the Village of Hempstead Police Department (“HPD”) with the rank of Officer.
       See Exhibit C, at ¶15.

       Response: Undisputed. However, this is improperly supported.

    5. At all relevant times, Defendant Matthew Ross (“Det. Ross”) was a member of the
       Nassau County Police Department (“NCPD”) with the rank of Detective. See
       County Answer (Exhibit B), at ¶15.

       Response: Undisputed. However, this is improperly supported.

    6. Defendant Charles Decaro (“Det. Decaro”) is, and at all relevant times was, a
       member of the NCPD with the rank of Detective. See Exhibit B, at ¶15. Det. Decaro
       was assigned to the NCPD Third Squad for thirteen (13) years from 2005 to
       2018. See Det. Decaro EBT Transcript (Exhibit O), p. 28, ln. 2-4, ln. 23-25.

       Response: Undisputed. However, given that the events at issue took place in June
       2008, plaintiff respectfully submits that defendant Decaro’s assignments from 2009-
       2018 are immaterial.

    7. At all relevant times, Defendant Ronald Lipson (“Det. Lipson”) was a member of
       the NCPD with the rank of Detective. See Exhibit B, at ¶15.

       Response: Undisputed. However, this is improperly supported.

    8. Defendant Thomas Dluginski (“Det. Dluginski”) is, and at all relevant times was, a
       member of the NCPD with the rank of Detective. See Exhibit B, at ¶15.

       Response: Undisputed. However, this is improperly supported.

    9. Defendant George Darienzo (“Det. Darienzo”) is, and at all relevant times was, a
       member of the NCPD with the rank of Detective. See Exhibit B, at ¶15.

       Response: Disputed. According to defendants, “George Darienzo was promoted and
       his current position with the NCPD is Detective Lieutenant.” See Defendants’ Loc.
       Civ. R. 56.1(a) Statement (“Def. 56.1”) at Page 3, Fact 9, n.2. This is also
       improperly supported.

    10. At all relevant times, Defendant Kevin Cunningham (“Det. Cunningham”) was a

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       member of the HPD with the rank of Detective. See Exhibit C, at ¶15.

       Response: Undisputed. However, this is improperly supported.

    11. At all relevant times, Defendant Richard Dorsi (“Det. Sgt. Dorsi”) was a member of
        the NCPD with the rank of Detective Sergeant. See Exhibit B, at ¶15.

       Response: Undisputed. However, this is improperly supported.

    12. Defendant Rene B. Yao (“Det. Yao”) is, and at all relevant times was, a member of
        the NCPD with the rank of Detective. See Exhibit B, at ¶15.

       Response: Undisputed. However, this is improperly supported.

    13. Defendant Carl Strange (“Det. Strange”) is, and at all relevant times was, a member
        of the NCPD with the rank of Detective. See Exhibit B, at ¶15.

       Response: Undisputed. However, this is improperly supported.

    14. At all relevant times, Defendant Joseph Sortino (“Det. Sortino”) was a member of
        the HPD with the rank of Detective. See Exhibit C, at ¶15.

       Response: Undisputed. However, this is improperly supported.

    15. On May 15, 2008, at approximately 1:10 a.m., Mr. Jorge Anyosa (“Anyosa”) was at
        the intersection of West Columbia Street and Main Street in the Village of
        Hempstead, County of Nassau, located approximately half of a block from the
        Hempstead Train Station. See Criminal Trial Transcript (Exhibit D) p. 368, ln. 25
        – p. 369, ln. 1-3; p. 373, ln. 6-9; see also Grand Jury Transcript (Exhibit E) p. 12,
        ln. 9-18.

       Response: Undisputed.

    16. Anyosa was working as a cab driver for Taxi Latino and regularly worked at or near
        the Hempstead Train Station and Bus Terminal on West Columbia Street in the
        Village of Hempstead. See Exhibit D, p. 368, ln. 9-24; see also Exhibit E, p. 12, ln.
        6-8.

       Response: Undisputed.

    17. Anyosa was seated in his taxi cab (sic) while parked on West Columbia Street, and
        was talking to his co-worker Wilmer Hernandez (“Hernandez”), who was double

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        parked in his own taxi cab (sic). See Exhibit D, p. 369, ln. 6-16; see also Exhibit E,
        p. 13, ln. 12-15.

        Response: Undisputed.

    18. While Anyosa and Hernandez were talking, a gray sedan “came behind and start[ed]
        to blow the horn like crazy. [Hernandez] went to make a U-turn, go around, come
        back again.” Exhibit D, p. 373, ln. 15-17; p. 374, ln. 3-6; see also Exhibit E, p. 13,
        ln. 17-25.

        Response: Disputed as to the description of the vehicle. Mr. Hernandez told police
        on the day of the shooting that the perpetrator was driving a 4-door Toyota. Mr.
        Hernandez testified that he knows cars well and knows the difference between a
        Toyota and a Honda and a Mazda. Trial transcript, annexed to the Declaration of
        Gabriel P. Harvis dated September 28, 2022 (“Harvis Decl.”) as Exhibit 1 (“Trial
        Tr.”), pp. 373, 475-76; Hernandez Written Statement, annexed to the Harvis Decl.
        as Exhibit 3. Another witness, Salvatore Rubinano, confidently provided the same
        description of the Toyota to police on the date of the shooting and further described
        the Toyota as missing a front left hubcap. See Rubinano Statement, annexed to the
        Harvis Decl. as Exhibit 15. On June 6, 2008, Mr. Hernandez and Mr. Anyosa went
        to the Hempstead Armory police station (after selecting Mr. Galloway from a photo
        array earlier that day) to view vehicles. Separately, they were shown two cars, a
        Mazda and a Honda. Mr. Hernandez testified at trial that the Mazda was more like
        the car the person was driving and he did not recognize the Honda. Trial Tr., Harvis
        Decl., Exhibit 1, pp. 470-71. Neither the Mazda nor the Honda were positively
        identified by either witness. Although Mr. Anyosa and Mr. Hernandez initially told
        police that it was a Toyota they saw, by trial in 2009, neither recalled the make or
        model of the car. Id. at p. 373 (Anyosa), p. 464 (Hernandez). See Eyewitness
        Identification Expert Report of Dr. Jennifer E. Dysart, annexed to the Harvis Decl.
        as Exhibit 4 (“Dysart Report”), pp. 8-9 (analyzing vehicle identification evidence in
        context of broader record).

        Plaintiff does not dispute that the driver of the Toyota, now known to be Kenton
        Sherwood,1 honked “like crazy” or that Hernandez attempted to make a U-turn.


    1
      In the 2018 investigation that led to plaintiff’s exoneration, Nassau County identified Kenton Sherwood as the
    perpetrator after linking Sherwood to a grey Toyota Corolla belonging to Natasha Cheney that was regularly used by
    Sherwood in 2008 and interviewing witnesses with knowledge of Sherwood’s criminal culpability, including witnesses to
    whom Sherwood had confessed including Ms. Cheney, who was apparently semiconscious in the backseat when Sherwood


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    19. The driver of the gray sedan proceeded to exit the vehicle and began arguing and
        screaming with Anyosa and Hernandez. See Exhibit D, p. 373, ln. 19-23, p. 374,
        ln. 16-18; see also Exhibit E, p. 14, ln. 13-14. This driver was described as a black
        male and made a gesture with his hand indicating he had a gun. See Exhibit D, p.
        375, ln. 9-12, p. 376, ln. 18-21, p. 465, ln. 18-21; see also Exhibit E, p. 8, ln. 1-2;
        p. 15, ln. 7-15.

        Response: Disputed as to the description of the driver. As explained by plaintiff’s
        eyewitness identification expert Dr. Jennifer E. Dysart,

             Mr. Galloway was significantly different than the descriptions of the
             perpetrator provided by Mr. Anyosa and Mr. Hernandez on several important
             features.

             Height: In his trial testimony, Mr. Anyosa testified that the person he argued
             with was eye-to-eye, face-to-face with him [Trial Tr., Harvis Decl., Exhibit 1,
             p. 376] and that Mr. Anyosa is 5’9”-5’10” tall. [Id.] He then testified that the
             person was between 5’9” and 5’11” [Id. at p. 376, 416] Mr. Hernandez
             testified that the person who exited the car was the same height as him and
             he is 5’9-5’10”. Mr. Galloway is between 5’5”-5’6” tall. This is a significant
             difference that, if it had been made known to Mr. Anyosa in 2008, would
             have altered the course of this case because in his 8/8/18 interview with Sheryl
             Anania, Mr. Anyosa indicated that he wished police had told him that Mr.
             Galloway was 5’6” tall because he would have told them that Mr. Galloway
             was not the perpetrator. In his 2020 deposition, Det. D’Luginski testified that
             he became aware that Mr. Galloway was not 5’11” tall yet did not tell Mr.
             Anyosa or Mr. Hernandez because he “didn’t think it was pertinent to the
             case at that time”. [Deposition Transcript of Thomas Dluginski, annexed to the
             Harvis Decl. as Exhibit 34 (“Dluginski Dep.”), p. 266] During the live lineup,


    shot Anyosa and helped clean blood from the Toyota. See Memoranda of DA Investigator Thomas Bidell dated August 6,
    2018 (DA3451), August 28, 2018 (DA3480-81), September 6, 2018 (3442-43) and September 7, 2018 (DA3440-41),
    annexed to the Harvis Decl. as Exhibit 5 (“Bidell Memos”). Anyosa also identified Sherwood as the perpetrator. See
    Memorandum dated August 28, 2018 (DA3448-49), annexed to the Harvis Decl. as Exhibit 5; see also Notes of Thomas
    Bidell (DA3366-3406), annexed to the Harvis Decl. as Exhibit 6; Notes of Sheryl Anania, annexed to the Harvis Decl. as
    Exhibit 7 (“Anania notes”). These official findings, contained in business records admissible under Fed. R. Evid.
    803(8)(a)(iii) & 803(6), formed the basis of Nassau County’s successful motion, pursuant to NYCPL § 440.10(1)(g), to
    vacate plaintiff’s state court conviction. See Draft Remarks of Nassau County Executive ADA and Conviction Integrity
    Unit (“CIU”) Chief Sheryl H. Anania (P11545), annexed to the Harvis Decl. as Exhibit 8 (reflecting Ms. Anania’s
    revisions). A note in the CIU’s file also suggests that a call regarding Sherwood was placed to the Nassau County tip line
    “the day after it happened.” See Reinvestigation Notes of Michael Walsh, annexed to the Harvis Decl. as Exhibit 9, P8245;
    Deposition Testimony of Michael Walsh, annexed to the Harvis Decl. as Exhibit 10, p. 20 (discussing tip line note).

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          Mr. Galloway’s true height also was concealed from the witnesses.

          Hair: Mr. Anyosa recalled that the perpetrator has short hair “cut [short] to
          the head” maybe an inch in length. [Trial Tr., Harvis Decl., Exhibit 1, p.
          441] and it was not cornrows or braids. [Id. at 418]. He also testified that the
          photo of Mr. Galloway with braids shown by defense attorney at trial was
          completely different than the hair of the shooter. [Id. at 445]. Mr. Hernandez
          testified that the perpetrator had short black hair about a half inch in length.
          Mr. Hernandez also testified that he knows the difference between short hair,
          afros, braids, and corn rows. [Id. at 465, 476-79]. At the trial, PO Horowitz
          testified that Mr. Galloway had messy cornrows when he was arrested on June
          5, 2008 [Id. at 539], suggesting that the cornrows had been in for some time.

          Age: At trial, Mr. Hernandez testified consistently with his initial description
          of the perpetrator’s age, which he observed to be 26-30 years. Mr. Anyosa
          described the perpetrator as being between 25 and 30 years of age. At the time
          of his arrest, Mr. Galloway was 21 years old.

          Accent: Both witnesses described the perpetrator as having an accent of an
          unknown origin. Mr. Galloway does not have an accent.

          Skin tone: In his trial testimony, Mr. Anyosa indicated that the perpetrator
          was a light skinned black male. [Trial Tr., Harvis Decl., Exhibit 1, p. 376].
          In his interview with police on May 15, 2008, Mr. Hernandez indicated that
          the person he argued with had a light complexion. Various arrest documents
          for Mr. Galloway indicate that he is a dark skinned black male.

          Teeth: In his trial testimony, Mr. Hernandez said that he didn’t notice
          anything unusual about the person’s face or teeth when he was talking with
          him [Id. at 479] from a distance of about 3 feet. [Id. at 482]. In the composite
          description, Mr. Anyosa provided information to Det. Bischoff that included
          “no oddities noticed” and in his trial testimony he indicated that he didn’t
          notice anything about the perpetrator’s teeth. [Id. at 420]. On May 15, 2008,
          Mr. Galloway was missing his top front (left) tooth. When he smiled or
          showed his teeth, the missing tooth was noticeable. [Trial Tr., Harvis Decl.,
          Exhibit 1, p. 922-25 (Dr. Sherman)].

       Dysart Report, Harvis Decl., Exhibit 4, pp. 7-8 (emphasis in original) (footnotes
       omitted) (cleaned up).


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       Plaintiff does not dispute that there was an argument or that Kenton Sherwood
       gesticulated.

    20. The driver of the gray sedan came within a few feet of Anyosa and Hernandez. See
        Exhibit D, p. 375, ln. 20-25, p. 376, ln. 1; see also Exhibit E, p. 7, ln. 11-15, p. 16,
        ln. 2-5. There was nothing covering the driver’s face. See Exhibit D, p. 376, ln. 10-
        13. Anyosa and Hernandez were both able to clearly see the driver’s face. See Exhibit
        D, p. 374, ln. 22-25 – p. 375, ln. 1; p. 482, ln. 16-18; see also Exhibit E, p. 7, ln.
        16-17.

       Response: Disputed. In addition to his face, Anyosa and Hernandez were also able
       to observe Kenton Sherwood’s height, hair, teeth, complexion, age and accent. See
       supra at Response 19 (collecting testimony); infra at Response 25 & Figure 1; see
       also Initial Police Interviews of Wilmer Hernandez and Jorge Anyosa, annexed to
       the Harvis Decl. as Exhibit 49 (“Initial Interviews”). However, the encounter’s
       stressfulness and cross-racial aspect made Anyosa and Hernandez’s identifications
       objectively less reliable and more prone to identification error. See Dysart Report,
       Harvis Decl., Exhibit 4, pp. 20-21. In any event, Anyosa testified that the shooter
       was at least his height and told the CIU he “wishes police had told him” plaintiff
       was 5’6” because “he would have told him Josiah didn’t do it.” See Anania Notes,
       Harvis Decl., Exhibit 7 at 11456; Trial Tr., Harvis Decl, Exhibit 1, pp. 376, 416
       (describing shooter as 5’10”).

    21. After the argument, the driver of the gray sedan drove away from the scene. See
        Exhibit D, p. 377, ln. 24-25 – p. 378, ln. 1-9; p. 465, ln. 1-9; see also Exhibit E, p.
        16, ln. 2-9.

       Response: Disputed. After the argument, Kenton Sherwood drove away from the
       scene in Natasha Cheney’s 2003 gray Toyota Corolla that was missing a front left
       hubcap. See Bidell Memos, Harvis Decl., Exhibit 5, at DA3480 (indicating that, in
       2008, Sherwood drove Cheney’s Toyota “like it was his own car”).

    22. After the driver left the scene, Anyosa was dispatched to Taylor Street in Hempstead,
        located about 5 minutes from the Hempstead Train Station. See Exhibit D, p. 378,
        ln. 10-16. Hernandez was dispatched to pick someone up and drove away from the
        Hempstead Train Station. See Exhibit D, p. 466, ln. 8-12. No one showed up for
        Anyosa to pick up in his taxi cab (sic), so Anyosa drove back to the Hempstead Train
        Station. See Exhibit D, p. 378, ln. 19-21; see also Exhibit E, p. 16, ln. 17-23.

       Response: Undisputed.

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    23. Anyosa parked his car in the Hempstead Train Station parking lot approximately
        twenty minutes after the initial argument with the driver of the gray sedan. See
        Exhibit D, p. 379, ln. 7-19; see also Exhibit E, p. 16, ln. 22 – p. 17, ln. 13.

       Response: Undisputed.

    24. While Anyosa was sitting in his parked car, he heard someone say, “What you going
        to do now, mother fucker?” See Exhibit D, p. 380, ln. 10-11; see also Exhibit E, p.
        17, ln. 19-25.

       Response: Disputed in part. Plaintiff agrees that Anyosa heard remarks like this from
       the shooter, but it is undisputed that the shooter Anyosa heard was Kenton
       Sherwood and not plaintiff. See Deposition Testimony of Sheryl Anania, annexed
       to Harvis Decl. as Exhibit 11 (“Anania Dep.”), p. 53, ln. 5-p. 54, ln. 20; p. 34, ln.
       9-p. 41, ln. 16, p. 56, ln. 9-p. 59, ln. 2 (discussing CIU investigation establishing
       Sherwood’s guilt); Transcript of Exoneration Proceeding on September 13, 2018,
       annexed to the Harvis Decl. as Exhibit 12 (“Exoneration Proceeding Tr.”), p. 3, ln.
       9-24; p. 4, ln. 14-18 (representing to state court that plaintiff is innocent and
       describing Sherwood as the “actual perpetrator”); Nassau County Defendants’ Letter
       to Court dated September 17, 2021 (DE #130), annexed to the Harvis Decl. as
       Exhibit 13 (“DE #130”), p. 2 (“Ms. Anania…is…a high-ranking member of the
       District Attorney’s Office, an arm of Nassau County. As a result, she is no non-party
       stranger to this case; she is a ‘representative’ of Nassau County.”) (footnote omitted)
       (emphasis added); New York Rule of Professional Conduct 3.8(c)(2)(B)-(C) & (d);
       n.1, supra.

    25. Anyosa recognized the same black male as the driver he had argued with earlier in
        the morning pointing a gun at him. See Exhibit D, p. 380, ln. 11-16, 23-24; see also
        Exhibit E, p. 17, ln. 21-25 – p. 18, ln. 1-5. The driver was sitting in his car, with
        his window rolled down, pointed a gun at Anyosa and then shot him. See Exhibit
        D, p. 381, ln. 8-9; see also Exhibit E, p. 17, ln. 21-25, p. 18, ln. 6-11.




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       Response: Disputed in part. Plaintiff agrees that Anyosa recognized Kenton
       Sherwood from the earlier incident, but notes that Sherwood (and Anyosa’s
       description of him) have no connection to Mr. Galloway, who also had a verifiable
       alibi. See supra at Responses 18-19, 24; see also Figure 1, infra.




                Figure 1 Exhibit 6 to the John Monaghan Deposition, annexed to the Harvis Decl. as Exhibit 14.

    26. Anyosa was shot in the face by this same driver he argued with earlier in the morning.
        See Exhibit D, p. 380, ln. 14-18; p. 382, ln. 3-4; see also Exhibit E, p. 17, ln. 21-25,
        p. 18, ln. 6-21. The driver of the gray sedan was in his car approximately 20 feet
        from Anyosa when he shot Anyosa in the face. See Exhibit D, p. 437, ln. 3-8; see
        also Exhibit E, p. 23, ln. 13-21. After shooting Anyosa, the driver of the gray sedan
        fled the scene. See Exhibit D, p. 382, ln. 8-9.

       Response: Disputed in part. The parties agree that Anyosa was shot in the face by
       Kenton Sherwood. See Anania Dep., Harvis Decl., Exhibit 11, p. 53, ln. 5-p. 54, ln.
       20; p. 34, ln. 9-p. 41, ln. 16, p. 56, ln. 9-p. 59, ln. 2 (discussing CIU investigation
       establishing Sherwood as shooter); Exoneration Proceeding Tr., Harvis Decl.,
       Exhibit 12, p. 3, ln. 9-24; p. 4, ln. 14-18 (representing to state court that plaintiff is
       innocent and describing Sherwood as the “actual perpetrator”); Nassau County
       Letter at DE #130, Harvis Decl., Exhibit 13, p. 2 (“Ms. Anania…is…a high-ranking
       member of the District Attorney’s Office, an arm of Nassau County. As a result, she
       is no non-party stranger to this case; she is a ‘representative’ of Nassau County.”)
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     (footnote omitted) (emphasis added); New York Rule of Professional Conduct
     3.8(c)(2)(B)-(C) & (d); n.1, supra.

  27. On May 15, 2008, at approximately 1:30 a.m., Eric Harrison (“Harrison”) was in
      front of the Hempstead Train Station when he heard what sounded like a gun shot.
      See Exhibit D, p. 338, ln. 5-20; see also Supporting Deposition of Eric Harrison
      (Exhibit F). Harrison then saw a gray colored car drive away. See Exhibit D, p. 340,
      ln. 10-11, p. 341, ln. 13-14; see also Exhibit F. Harrison saw Anyosa sitting in the
      driver’s side of his cab, noticed that he was shot in the face, that there was blood
      leaking from Anyosa’s face, and called the police. See Exhibit D, p. 341, ln. 19 – p.
      342, ln. 1-6; see also Exhibit F.

     Response: Undisputed.

  28. On May 15, 2008, at approximately 1:30 a.m., Salvatore Rubinano (“Rubinano”)
      was at the Hempstead Train Station and heard a noise that sounded like a backfire.
      See Supporting Deposition of Salvatore Rubinano (Exhibit G). Rubinano looked
      up, saw a black male inside the driver’s seat of a gray car, and saw the same male drive
      away down Columbia Street. See Exhibit G. Rubinano also saw Anyosa in the front
      seat of his taxi cab with a lot of blood on his face. See Exhibit G.

     Response: Disputed in part. The witness stated that he saw a “grey Toyota Corolla
     4-door” that was “missing the front left hub cap.” The witness told police that he
     “work[s] on cars” and could identify the “model year” of the Toyota Corolla as
     “2002-2005.” Rubinano Statement, Harvis Decl., Exhibit 15. This is the same
     make and model as the car owned by Natasha Cheney and operated by Kenton
     Sherwood that was reportedly cleaned of blood following the crime in 2008. See
     Bidell Memos, Harvis Decl., Exhibit 5, DA003451, DA3480. In his initial
     statements to police on May 15, 2008, Hernandez also described the vehicle as a
     Toyota with a missing front left hub cap. See Hempstead PD Case Report for
     Anyosa Shooting, annexed to the Harvis Decl. as Exhibit 16; see also Nassau County
     PD Case Report for Anyosa shooting, annexed to the Harvis Decl. as Exhibit 17;
     supra at Response 18.

  29. On May 15, 2008, between 1:36 a.m. and 1:37 a.m., HPD Police Officer Eugene
      Este (“P.O. Este”), HPD Police Officer Shury (“P.O. Shury”) and HPD Police
      Officer Derek Warner (“P.O. Warner”) responded to the shooting at the Hempstead
      Train Station. See Exhibit D, p. 362, ln. 20-23; see also NCPD Serious Incident
      Time Log (Exhibit H).


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     Response: Undisputed.

  30. After Anyosa was shot, Hernandez arrived back at the Hempstead Train Station;
      Hernandez was not present when Anyosa was shot. See Exhibit D, p. 466, ln. 10-
      20; see also Exhibit E, p. 8, ln. 22 – p. 9, ln. 6; see also Supporting Deposition of
      Wilmer Hernandez (Exhibit I).

     Response: Undisputed.

  31. Anyosa was transported to Winthrop University Medical Center and was admitted
      for nine days. See Exhibit D, p. 335, ln. 22-24, p. 383, ln. 19-23. As a result of being
      shot, Anyosa had surgery and sustained the following injuries: missing chin bone
      which was replaced by a metal plate, lost 8 teeth, had his jaw wired shut for two to
      three months, had multiple surgeries on his tongue, suffered permanent nerve
      damage in his face and permanent scarring on his chin. See Exhibit D, p. 384, ln.
      14 – p. 386, ln. 5; see also Exhibit E, p. 19, ln. 9 – p. 21, ln. 20.

     Response: Undisputed.

  32. Hernandez spoke with P.O. Este and signed a written statement. See Exhibit I.
      Harrison spoke with P.O. Shury and signed a written statement. See Exhibit F.
      Rubinano spoke with P.O. Este and signed a written statement. See Exhibit G.

     Response: Undisputed. Anyosa also spoke with P.O. Warner. See Initial Interviews,
     Harvis Decl., Exhibit 49, p. 3.

  33. During the early morning of May 15, 2008, Det. Dluginski was working at the
      NCPD Third Squad and was notified about Anyosa’s shooting. See Exhibit D, p.
      622, ln. 11-14; see also Det. Dluginski EBT Transcript (Exhibit J), p. 42, ln. 10-13.
      Det. Dluginski was the detective assigned to investigate this shooting. See Exhibit
      D, p. 622, ln. 15-18; see also Exhibit J, p. 50, 7-10.

     Response: Undisputed.

  34. Det. Dluginski drove to the location where Anyosa was shot, and arrived at West
      Columbia Street in Hempstead at approximately 1:56 a.m. on May 15, 2008. See
      Exhibit J, p. 54, ln. 5-15; p. 61, ln. 7-11; see also Exhibit H. After he arrived, Det.
      Dluginski spoke with the HPD police officers who were already at the scene. See
      Exhibit J, p. 55, ln. 7-13.

     Response: Undisputed. This is not a material fact.

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  35. NCPD Crime Scene detectives responded to the Hempstead Train Station and took
      photographs of the scene, Anyosa’s vehicle, bullet fragments, and blood in Anyosa’s
      cab. See Exhibit D, p. 528, ln. 13-18, p. 529, ln. 4-7, p. 530, ln. 14-21, p. 531, ln.
      4-6; see also NCDA Trial Exhibits 10, 11, 12, 13, 21, 22, 23, 24 and 25 (Exhibit K).
      NCPD Crime Scene detectives also collected physical evidence including bullet
      fragments, wadding and some of the victim’s teeth. See Exhibit D, p. 530, ln. 14-
      21, p. 623, ln. 6-10.

     Response: Undisputed.

  36. Det. Dluginski searched for video in the vicinity of the scene that captured the
      incident; Det. Dluginski went to the MTA Bus Terminal in Hempstead and viewed
      video depicting the vicinity of the shooting at the time of the shooting. See Exhibit
      D, p. 623, ln. 11-15, p. 678, ln. 23-25; see also Exhibit J, p. 53, ln. 14-18.

     Response: Undisputed.

  37. Det. Dluginski viewed a video that depicted Anyosa’s car and the suspect’s car, but
      was unable to determine the make and model of the suspect’s car at that time. See
      Exhibit D, p. 643, ln. 3 – p. 644, ln. 1; see also Exhibit J, p. 68, ln. 23-25 – p. 69,
      ln. 1-3. After viewing this video, Det. Dluginski was unable to see the physical
      description of the suspect. See Exhibit J, p. 69, ln. 4-7. The video from the
      Hempstead Bus Terminal did not give Det. Dluginski any leads to identify Anyosa’s
      shooter and did not capture the actual shooting incident. See Exhibit J, p. 70, ln. 7-
      13, p. 122, ln. 18-22; see also Exhibit D, p. 697, ln. 2-7.

     Response: Disputed in part. Dluginski knew from the Rubinano and Hernandez
     statements that the shooter’s vehicle was a 2002-2005 silver or grey Toyota Corolla
     with a missing front left hubcap. Dluginski also had a description of Kenton
     Sherwood, the perpetrator, from Hernandez and Anyosa. See Responses 18-19, 28,
     supra. At the of the shooting, Natasha Cheney had a Toyota matching this
     description that Cheney told prosecutors Kenton Sherwood used to drive “like it
     was his own car.” See Bidell Memos, Harvis Decl., Exhibit 5 at DA3480.

  38. Det. Dluginski left the scene of the shooting on May 15, 2008, at approximately
      3:50 a.m. See Exhibit H.

     Response: Undisputed. This is not a material fact.

  39. After Anyosa was shot and transported to the hospital, Det. Dluginski went to visit

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     Anyosa at the hospital. See Exhibit D, p. 652, ln. 3-5; see also Exhibit J, p. 275, ln.
     17-20.

     Response: Disputed in part. Defendant Dluginski does not know when, or how
     long after Anyosa was shot, Dluginiski visited Anyosa the hospital. Trial Tr., Harvis
     Decl., Exhibit 1, p. 659, ln. 3-15 (Dluginski). However, it is undisputed that, when
     Dluginski was with Anyosa at the hospital, Anyosa communicated with Dluginski
     by writing notes that Dluginski made no effort to secure or retain, depriving plaintiff
     of potential Brady evidence. Id. at p. 660, ln. 25-p. 661, ln. 10. The surviving notes
     from that encounter, taken by Dluginski, reflect that Anyosa provided information
     exculpatory to Mr. Galloway, including that Sherwood had an accent, short hair,
     stood 5’10” and was 25-30 years old. See Note (Exhibit 8 to Dluginski Dep.),
     annexed to the Harvis Decl. as Exhibit 18.

  40. In May of 2008, NCPD Detective Thomas Bischoff (“Det. Bischoff”) was assigned
      to the NCPD Rogues Gallery. See Det. Bischoff EBT Transcript (Exhibit L), p. 16,
      ln. 9-11. Det. Bischoff joined the police department in October of 1994 and became
      a Detective in 2003. See Exhibit L, p. 14, ln. 23-25 – p. 15, ln. 1-2. As a detective
      with the NCPD Rogues Gallery, part of Det. Bischoff’s duties and responsibilities
      included preparing composite sketches. See Exhibit L, p. 15, ln. 19-22; p. 16, ln. 15-
      17.

     Response: Undisputed. This is not material.

  41. Det. Bischoff received training to become an NCPD composite sketch artist, which
      included on the job training, as well as an additional three-week training course with
      the FBI Academy in Quantico Virginia. See Exhibit L, p. 17, ln. 3-14; p. 18, ln.18-
      25 – p. 19, ln. 1-2. This three-week training course was multi-leveled and included
      composite sketches, facial reconstruction training and sketch artist training. See
      Exhibit L, p. 19, ln. 5-7, p. 20, ln. 12-15.

     Response: Undisputed. Given that plaintiff does not challenge Bischoff’s
     qualifications or his preparation of the composite, this is not material.

  42. When constructing a composite sketch, Det. Bischoff would use reference
      photographs of all different facial features of other people, present these reference
      photographs to the victim or witness, and would create a composite sketch based on
      input from the victim or witness. See Exhibit L, p. 37, ln. 5-19.

     Response: Undisputed. This is not material to summary judgment.

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  43. On May 19, 2008, between 8:00 p.m. and 8:30 p.m., Det. Dluginski called the
      NCPD Rogues Bureau, spoke with Det. Bischoff, and asked Det. Bischoff to meet
      with Anyosa to complete a composite sketch of Anyosa’s shooter. See Exhibit D, p.
      663, ln. 9-12, p. 820, ln. 19- 22, p. 822, ln. 6 – p. 823, ln. 8; p. 832, ln. 24-25 – p.
      833, ln. 1.

     Response: Undisputed. This is not material.

  44. On May 19, 2008, at approximately 9:00 p.m., Det. Bischoff went to Winthrop
      Hospital and met with Anyosa. See Exhibit D, p. 823, ln. 6-11; p. 827, ln. 1-5.
      There were no other police personnel present when Det. Bischoff met with Anyosa
      to complete the composite sketch. See Exhibit D, p. 827, ln. 23-25; p. 663, ln. 25 –
      p. 664, ln. 1-5.

     Response: Undisputed.

  45. Det. Bischoff wrote down information about the description of the suspect provided
      to him by Anyosa. See Exhibit L, p. 60, ln. 9 – p. 61, ln. 2; see also Det. Bischoff’s
      Composite Sketch and Notes of Interview with Anyosa (Exhibit M) p. 2. Det.
      Bischoff showed Anyosa several photos, and based on responses from Anyosa, Det.
      Bischoff completed the composite sketch. See Exhibit D, p. 835, ln. 10 – p. 836, ln.
      21; see also Exhibit M. Det. Bischoff confirmed Anyosa’s description of the shooter
      by showing Anyosa reference photographs. See Exhibit D, p. 834, ln. 8-12.

     Response: Disputed as incomplete. Plaintiff agrees that Bischoff interviewed Anyosa
     and prepared a composite sketch, but defendants’ statement above omits the
     substance of the information Anyosa conveyed to Bischoff as reflected in the
     Interview Notes and Composite Sheet annexed to the Harvis Decl. as Exhibit 2.
     Anyosa correctly told Bischoff that the perpetrator, now known to be Kenton
     Sherwood, had hair that was “shaved” and “cut close to the head,” was between 25
     and 30 years old, stood 5’10”-5’11;” and was driving a dark grey 2001 or 2002
     Toyota Corolla. Id. Bischoff appropriately included this information in the
     “Description of the Subject” section of the composite sketch form. Id; see Dysart
     Report, Harvis Decl., Exhibit 4, Section VI.2 (pp. 9-10) (Composite Sketch).

  46. Det. Bischoff completed one single composite sketch of the suspect after Det.
      Bischoff’s conversation with Anyosa. See Exhibit D, p. 836, ln. 19-21; see also Exhibit
      L, p. 49, ln. 3-4; see also Exhibit M.

     Response: Undisputed. This is not a material fact.

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  47. The composite sketch was included in an NCPD Intelligence Bulletin that was
      circulated to other police agencies and precincts in order to “seek the assistance of
      other law enforcement agencies.” See Exhibit J, p. 163, ln. 4-15; p. 159 ln. 22 – p.
      160, ln. 19; see also NCPD Intelligence Bulletin with Composite Sketch (Exhibit
      N).

     Response: Undisputed.

  48. This composite sketch was displayed in the NCPD Third Squad for several weeks
      on a board directly across from Det. Decaro’s desk. See Exhibit O, p. 83, ln. 17-21;
      see also Pre- Trial Hearing Transcript (Exhibit P), p. 78, ln. 1-4, p. 153, ln. 1-8.

     Response: Disputed in part. The composite sketch is only one component of the
     bulletin. See NCPD Intelligence Bulletin, annexed to the Harvis Decl. as Exhibit 19
     (“Bulletin”). In any event, the illustration of Sherwood does not resemble plaintiff
     and the description contained in the composite and Bulletin exclude plaintiff. See
     Dysart Report, Harvis Decl., Exhibit 4, Section VI.2 (pp. 9-10) (Composite Sketch);
     Responses 18-19.

  49. Plaintiff was friends with Robert Ogletree. See Exhibit D, p. 320, ln. 24-25 – p.
      321, ln. 1-3. Plaintiff knew Mr. Ogletree his entire life and grew up in the same
      neighborhood as him. See Plaintiff EBT Transcript (Exhibit Q) p. 40, ln. 10-12.

     Response: Undisputed.

  50. On or about May 27, 2008, HPD received a complaint from Marky Fouse stating
      that he was a victim of a robbery by plaintiff that took place on Fulton Avenue in
      the Village of Hempstead. See Plaintiff’s Signed Statement (Exhibit EE); see also
      Exhibit Q, p. 71, ln. 4 – p. 72, ln. 15; see also P.O. Horowitz EBT Transcript
      (Exhibit S), p. 57, ln. 13-24, p. 58, ln. 10-25.

     Response: Disputed in part. The evidence cited by defendants does not support the
     asserted proposition and both Mr. Galloway and Mr. Ogletree have denied the
     allegations attributed to Fouse, which were adjudicated as a noncriminal disorderly
     conduct violation and are immaterial to summary judgment. See Deposition
     Testimony of Josiah Galloway, September 20, 2022 (“Galloway Dep.”) annexed to
     the Harvis Decl. as Exhibit 20, p. 51, ln. 18-p. 52, ln. 25; Plaintiff’s 50h Transcript,
     dated December 20, 2018, annexed to the Harvis Decl., as Exhibit 21, p. 14, ln. 9-
     23; see also Trial Tr., Harvis Decl., Exhibit 1, p. 268, ln. 8-10 (Ogletree) (“They
     were all false allegations.”).

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  51. On June 5, 2008 at approximately 11:00 pm, plaintiff was in a car with Mr.
      Ogletree. See Exhibit Q, p. 39, ln. 11-12, 22-23.

     Response: Undisputed.

  52. On June 5, 2008, HPD Det. Cunningham and P.O. Horowitz received a call
      notifying them where plaintiff was located. See Exhibit S, p. 57, ln. 13-24, p. 58, ln.
      8-15; see also Det. Cunningham EBT Transcript (Exhibit T), p. 36, ln. 1-25. HPD
      Det. Cunningham and P.O. Horowitz then went to that location to arrest plaintiff
      and Mr. Ogletree for the robbery that occurred on May 27, 2008. See Exhibit S, p.
      57, ln. 20-25, p. 58, ln. 1- 25.

     Response: Undisputed.

  53. On June 5, 2008 at approximately 11:45 pm, while in a car with Mr. Ogletree,
      plaintiff was placed under arrest by HPD Det. Cunningham and P.O. Horowitz for
      a May 27, 2008 robbery. See Exhibit P, p. 207, ln. 15-22; see also Exhibit D, p. 538,
      ln. 6-14; see also Exhibit Q, p. 41, ln. 24 – p. 42, ln. 2. Mr. Ogletree was also placed
      under arrest. See Exhibit Q, p. 41, ln. 8-9.

     Response: Disputed in part. When the officers seized Mr. Galloway, defendant
     Cunningham falsely stated there was a warrant for plaintiff’s arrest. See Galloway
     Dep., Harvis Decl., Exhibit 20, p. 200, ln. 21-p. 201, ln. 11.

  54. At the time plaintiff was initially arrested, he was not under arrest for the May 15,
      2008 shooting of Anyosa. See Exhibit P, p. 279, ln. 12-25; see also Robert Schalk EBT
      Transcript (Exhibit R) p. 99, ln. 19-24; Exhibit S, p. 77, ln. 6-9. Rather, Plaintiff
      was being arrested for the May 27, 2008 robbery. See Exhibit EE; see also Exhibit Q,
      p. 51, ln. 12-25, p. 52, ln. 1-25, p. 71, ln. 10-24, p. 72, ln. 2-15; see also Exhibit T,
      p. 43, ln. 8-19.

     Response: Disputed. “On 6/5/08 at 11:23 P.M….Josiah Galloway…[was] arrested and
     charged in [the May 15, 2008 shooting of Anyosa].” Nassau County Public Information
     Office News Release, annexed to the Harvis Decl. as Exhibit 22; Crime Report for the
     May 15, 2008 shooting of Anyosa (case 208CR0039551), annexed to the Harvis Decl.
     as Exhibit 23, p. 2 (also reflecting that Mr. Galloway was arrested for the Anyosa
     shooting on June 5, 2008 shortly after 11:00 p.m.); Morning Report, annexed to the
     Harvis Decl. as Exhibit 24, P1109 (“On Thursday 06/05/09 at 11:45
     PM…Galloway…[was] stopped on Pierson Ave and Windsor Parkway, Hempstead, in
     a Honda Civic…and [was] placed under arrest…[and] transported to the Hempstead

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     Armory for processing [in connection with the Anyosa shooting].”). Plaintiff respectfully
     submits that this is not a material fact.

  55. After plaintiff and Mr. Ogletree were arrested, they were transported to the
      Hempstead Police Armory located at 216 Washington Street, Hempstead, New
      York. See Exhibit D, p. 539, ln. 9-14; see also Exhibit S, p. 70, ln. 9-11. On June 6,
      2008, at approximately 12:08 a.m., plaintiff and Mr. Ogletree arrived at the
      Hempstead Police Armory. See Exhibit T, p. 77, ln. 12-22, p. 78, ln. 12 – p. 79, ln.
      3; see also HPD Command Log (Exhibit U). Plaintiff was placed in a holding cell
      by himself. See Exhibit Q, p. 42, ln. 20-25.

     Response: Undisputed. However, this is not a material fact.

  56. Pursuant to accepted practice, HPD contacted the NCPD Third Precinct to take over
      the investigation for the robbery that occurred on May 27, 2008. See Exhibit T, p.
      47, ln. 11-23, p. 50 ln. 6-25. The NCPD investigates and processes all felony arrests
      made by HPD. See Exhibit T, p. 50 ln. 6-25, p. 60, ln. 2-25.

     Response: Undisputed.

  57. The NCPD Third Squad Detectives would generally handle serious crimes that
      occurred in the Village of Hempstead. See Exhibit J, p. 44, ln. 15-25; see also Exhibit
      T, p. 60, ln. 12-25. On June 5, 2008, Det. Decaro was working in the NCPD Third
      Squad and was responsible for any cases that came in after 9:00 p.m. See Exhibit P,
      p. 58, ln. 9-16.

     Response: Undisputed.

  58. On June 6, 2008, at approximately 12:00 a.m., Det. Decaro received a phone call
      from HPD requesting NCPD to respond since plaintiff and Mr. Ogletree were
      placed under arrest. See Exhibit P, p. 58, ln. 9 – p. 59, ln. 3. After receiving this call,
      Det. Decaro and Det. Darienzo went to the Hempstead Police Armory and arrived
      shortly after 12:00 am. See Exhibit O, p. 47, ln. 20-23; see also Exhibit P, p. 59, ln.
      4-8, p. 130, ln. 9-13; see also Det. Darienzo EBT Transcript (Exhibit V) p. 33, ln. 9-
      11.

     Response: Undisputed.

  59. Det. Decaro and Det. Darienzo responded to the Hempstead Police Armory to
      investigate a robbery and other crimes, not the May 15, 2008 shooting of Anyosa.
      See Exhibit O, p. 55, ln. 9-23; see Exhibit P, p. 73, ln. 6 – p. 76, ln. 6; see also Exhibit
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     T, p. 58, ln. 4-11; see also Exhibit V, p. 33, ln. 15-20. Once the NCPD Detectives
     responded, HPD Officers provided assistance to NCPD Detectives. See Exhibit T,
     p. 59, ln. 12 – p. 62, ln. 23; p. 63, ln. 10-23, p. 73, ln. 3-11, p. 79, ln. 4-13.

     Response: Undisputed. However, this is not a material fact.

  60. While at the Hempstead Armory, plaintiff interacted with Det. Decaro and P.O.
      Horowitz. See Exhibit Q, p. 43, ln. 21-24. Plaintiff did not know Det. Decaro and
      Det. Dluginski prior to his June 5, 2008 arrest. See Exhibit Q, p. 43, ln. 25-p. 44,
      ln. 2-6.

     Response: Disputed. While plaintiff was at the Armory, several officers interacted with
     Mr. Galloway and developed the evidence that would be used to convict him of Kenton
     Sherwood’s crime.

     Ogletree. Defendants coerced Robert Ogletree into signing a false statement implicating
     plaintiff prepared by the officers, which Ogletree recanted on the stand at trial. See
     Ogletree Statement Implicating Plaintiff, annexed to the Harvis Decl. as Exhibit 25
     (witnessed by Decaro and Lipson); Ogletree Trial Testimony, annexed to the Harvis
     Decl. as Exhibit 1, p. 262, ln. 20-274, ln. 21 (“They woke me up three something in
     the morning to sign the statement that they wrote.”); id. at, e.g., p. 303, ln. 14-23
     (“…They say, You’re sure [plaintiff] didn’t tell you that he’s leaving the next morning
     because he shot somebody at the chicken spot? They just kept going on and on for hours
     trying to get him on some chicken spot. And, honestly, Josiah didn’t do it. He didn’t do
     that. But I was weak and they coerced it and they got me to sign that paper.”); id. at,
     e.g., p. 300, ln. 19-p. 303, ln. 16 (“…They brought a…sketch of somebody and they
     said, Who does this look like? And I’m telling them, I don’t know who that is…They
     start threatening me and trying to get me to say that it’s Josiah, or myself, I guess…I’m,
     like, Nah, that don’t look like him, Josiah got hair. As a matter of fact, he had an afro at
     the time.”); see also Ogletree Unsigned Statement Implicating Plaintiff, annexed to the
     Harvis Decl. as Exhibit 26 (witnessed by Decaro and Lipson); see also Ogletree Miranda
     Form, annexed to the Harvis Decl. as Exhibit 27 (witnessed by Darienzo and Decaro at
     3:00 a.m.); see Deposition Testimony of Ronald Lipson annexed to the Harvis Decl. as
     Exhibit 31 (“Lipson Dep.”), p. 175, ln. 15-p. 179, ln. 5 (discussing preparation of
     unsigned Ogletree statement); see Deposition Testimony of Charles Decaro, October 9,
     2020 (“Decaro Dep.”) annexed to the Harvis Decl. as Exhibit 28, p. 69, ln. 9-18
     (testifying that Decaro, Darienzo and Lipson were obtaining the statements from
     Ogletree); Trial Tr., Harvis Decl., Exh. 1, p. 541, ln. 7-25 (Horowitz) (describing
     Horowitz’s involvement with Ogletree). Ogletree was allegedly Mirandized and

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     questioned about the Anyosa shooting beginning at 3:00 a.m. on June 6, 2008, while
     Wilmer Hernandez had already made a selection from the photo array by 3:20 a.m. See
     Decaro Dep., Harvis Decl., Exhibit 28, p. 144, ln. 12-18.

     Ogletree’s contested statement was explicitly cited by prosecutors as supporting the
     attempted murder charge when the Nassau County District Attorney initially screened
     the case. See ECAB, annexed to the Harvis Decl. as Exhibit 29.

     The Photo Arrays. Without ever comparing the composite sketch to plaintiff and
     ignoring the discrepancies between plaintiff and Sherwood’s description as reflected in
     the Bulletin (and affirmatively concealing them), Dluginski and Lipson constructed
     photo arrays that were objectively biased against Mr. Galloway using an outdated
     photograph of him that misrepresented his hairstyle. See Dysart Report, Harvis Decl.,
     Exhibit 4, Section VI.3 (pp. 10-12) (Photo Array Filler Bias); Decaro Dep., Harvis
     Decl., Exhibit 28, p. 84, ln. 19-24; p. 91, ln. 15-23. Independent scientific research by
     Professor Dysart, plaintiff’s eyewitness identification expert, establishes that the arrays
     constructed by Lipson were statistically biased:

               Mr. Galloway’s photograph was chosen as the closest match
               to the composite sketch by a factor of more than 4 times any
               other photograph. If the photo array had truly been a fair
               array where all of the members matched the composite (thus
               the description) provided by Mr. Anyosa, then you would
               expect to see each lineup member receive 16.7% of the
               selections. Clearly, Mr. Galloway’s selection rate of 66.3%
               was a significant deviation from this number and
               demonstrates a clear bias towards him in this procedure.

     Dysart Report, Harvis Decl., Exhibit 4, p. 12.

     The Identifications. At approximately 3:20 a.m., the defendants brought Wilmer
     Hernandez to the Armory and told him “[we have] the person who was the cause of the
     incident” but “want[] to show [you] pictures.” Deposition Testimony of Wilmer
     Hernandez annexed to the Harvis Decl. as Exhibit 30 (“Hernandez Dep.”), p. 30, ln.
     18-24. When, as here, the suspect is in custody, a lineup should be conducted – such a
     lineup would have revealed that Mr. Galloway had long hair and was 5’5”, while Anyosa
     and Hernandez knew Sherwood was closer to 5’10” and had very short hair. See Dysart
     Report, Harvis Decl., Exhibit 4, p. 11 & n.26 (noting that the International Association
     of Chiefs of Police has recommended since 1992 that “if a suspect is in custody that a


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     live lineup is preferred over the use of a photo array”). After Hernandez selected
     plaintiff, Lipson revealed plaintiff’s identity to Hernandez. See Hernandez Photo
     Array Deposition, annexed to the Harvis Decl. as Exhibit 35; Lipson Dep., Harvis
     Decl., Exhibit 31, p. 146, ln. 8-24. Mr. Galloway was not Mirandized until 4:30
     a.m., shortly before Detective Lipson visited Jorge Anyosa at his house. Anyosa, who
     had only recently been discharged from the Hospital, was told by Lipson that he
     picked the right person and that Hernandez had made the same selection. See Anania
     notes, Harvis Decl., Exhibit 7, 11455. Anyosa was never told plaintiff’s height, and
     said he was not positive in his identification but had been reassured by the officers.
     Id. at p. P11455-456. The officers also disclosed to Anyosa that Wilmer Hernandez
     had been at the precinct and “ID’d him before me.” Deposition Transcript of Jorge
     Anyosa annexed to the Harvis Decl. as Exhibit 51, p. 29, ln. 9-17.

     The Paperwork. Decaro and Sortino executed the Crime Report, Case Report and
     Felony Complaints filed in connection with the false accusation that Mr. Galloway shot
     Anyosa. See Crime Report, annexed as Exhibit 23; Case Report, annexed as Exhibit 17;
     Felony Complaints, annexed as Exhibit 36.

     When Mr. Galloway was booked, defendant Dluginksi entered his height into the
     system as 5’8”, when his actual height is 5’5”. See Arrest Report, annexed to the Harvis
     Decl. as Exhibit 33; Dluginski Dep., Harvis Decl., Exhibit 34, p. 223, ln. 8-14. The
     felony complaints that were filed against plaintiff falsely stated that he had made
     statements of admission. See Response 83, infra.

  61. When Det. Decaro initially spoke with plaintiff to retrieve pedigree information, he
      realized that plaintiff resembled the composite sketch of the suspect that was hanging
      in the NCPD Third Squad across from his desk. See Exhibit O, p. 74, ln. 8-18; see
      also Exhibit P, p. 77, ln. 23 – p. 78, ln. 4; p. 152, ln. 9-12.

     Response: Disputed. This is not possible because the sketch does not resemble
     plaintiff and the description rules him out. See supra at Responses 19-20, 60 &
     Figure 1.

  62. Det. Decaro’s desk in the NCPD Third Squad was right across from a clip board
      where the suspect’s composite sketch was hanging on the wall. See Exhibit O, p. 83,
      ln. 13-21. This composite sketch was hanging in the NCPD Third Squad for a few
      weeks prior to June 5, 2008. See Exhibit P, p. 77, ln. 25 – p. 78, ln. 4. Det. Decaro
      saw this composite sketch every day that he sat at his desk for a few weeks. See Exhibit
      O, p. 91, ln. 11-14, Exhibit P, p. 153, ln. 1-8.


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     Response: Disputed. This is the same as Fact 48. Further, since the Bulletin (of
     which the sketch is a component) was not prepared until May 20, 2008, see Bulletin,
     Harvis Decl., Exhibit 19, it could only have been hanging for, at most, fifteen
     calendar days as of June 5, 2008.

  63. Det. Decaro was unable to locate this composite sketch while he was at the
      Hempstead Police Armory. See Exhibit O, p. 81, ln. 16-23. Det. Decaro called the
      NCPD Third Squad, spoke with Det. Lipson and asked if the composite sketch was
      still hanging by Det. Decaro’s desk. See Exhibit P, p. 78, ln. 5-11; see also Det.
      Lipson EBT Transcript (Exhibit W) p. 109, ln. 10-14. Det. Lipson told Det. Decaro
      that the composite sketch was still hanging in front of his desk. See Exhibit P, p. 78,
      ln. 5-15; see also Exhibit W, p. 109, ln. 15-22.

     Response: Disputed in part. The document at issue is a bulletin containing an
     illustration of Kenton Sherwood that does not resemble plaintiff and a description
     of Sherwood at odds with plaintiff’s description, not a composite sketch. See
     Bulletin, Harvis Decl., Exhibit 19; Responses 19-20 & Figure 1, supra.

  64. Det. Darienzo went back to the NCPD Third Squad to pick up a copy of the
      composite sketch and brought this sketch back to the Hempstead Police Armory.
      See Exhibit P, p. 78, ln. 16-18; see also Exhibit W, p. 111, ln. 14-21.

     Response: Disputed in part. Darienzo picked up a copy of the Bulletin. See Bulletin,
     Harvis Decl., Exhibit 19; Responses 19-20 & Figure 1, supra.

  65. Det. Decaro saw the composite sketch and determined that plaintiff resembled the
      composite sketch. See Exhibit P, p. 79, ln. 16-22.

     Response: Disputed. Decaro never compared plaintiff to the sketch of Kenton
     Sherwood. Decaro Dep., Harvis Decl., Exhibit 28, p. 84, ln. 19-24; p. 91, ln. 15-23.
     Further, the sketch of Sherwood did not resemble plaintiff and the description of
     Sherwood, which Decaro did not review, ruled plaintiff out as a suspect. Plaintiff
     also had a verifiable alibi and is innocent. See Response 61, supra.

  66. Det. Decaro then called Det. Lipson and asked Det. Lipson to put together two (2)
      photo arrays including plaintiff in both photo arrays. See Exhibit O, p. 115, ln. 14-
      16; see also Exhibit P, p. 79, ln. 16-22; see also Exhibit W, p. 116, ln. 17 – p. 117,
      ln. 2.

     Response: Disputed in part. The photo arrays that Lipson prepared at Decaro’s

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     request were objectively biased against Mr. Galloway. See Dysart Report, Harvis
     Decl., Exhibit 4, Section VI.3 (pp. 10-12) (Photo Array Filler Bias); Response 60, supra.

  67. Prior to being asked to put together photo arrays with plaintiff’s photograph, Det.
      Lipson was not involved in the investigation of May 15, 2008 shooting of Anyosa.
      See Exhibit P, p. 6, ln. 25 – p. 7, ln. 11.

     Response: Disputed. Lipson was personally involved in several aspects of plaintiff’s
     wrongful conviction. See, e.g., Decaro Dep., Harvis Decl., Exhibit 28, p. 69, ln. 9-18
     (testifying that Decaro, Darienzo and Lipson were obtaining the statements from
     Ogletree); Responses 79-86, infra.

  68. On June 6, 2008, at approximately 2:00 a.m., Det. Lipson created two (2) photo
      arrays with plaintiff’s photograph placed in both photo arrays. See Exhibit P, p. 17,
      ln. 5-6; see also Pre-Trial Hearing Exhibits 1-4 (Exhibit X). At the time he created
      the two (2) photo arrays with plaintiff’s photograph, Det. Lipson did not know what
      case he was preparing these photo arrays for. See Exhibit W, p. 128, ln. 13-20.

     Response: Disputed. Lipson, who would later improperly administer the arrays to
     Hernandez and Anyosa, knew that Mr. Galloway was the subject of the arrays and
     constructed them in a manner that was objectively biased against Mr. Galloway. See
     Dysart Report, Harvis Decl., Exhibit 4, Section VI.3 (pp. 10-12) (Photo Array Filler
     Bias).

  69. The photograph of plaintiff that was used in both photo arrays was from September
      of 2007. See Exhibit D, p. 704, ln. 9-11.

     Response: Disputed in part. Plaintiff agrees that the photograph of him was taken
     in September 2007 but notes that the use of the photograph under the circumstances
     here – with plaintiff having much longer hair, being in police custody, being
     innocent, not matching the description and having an alibi – was improper and
     increased the likelihood that plaintiff would be misidentified. See Dysart Report,
     Harvis Decl., Exhibit 4, Section VI.3 (pp. 10-12) (Photo Array Filler Bias); see also, n.2,
     infra.

  70. Det. Lipson used a computer at the NCPD Third Squad to create these two (2) photo
      arrays. See Exhibit W, p. 118, ln. 8-19. Det. Lipson used a system on the computer
      known as “Rogues Gallery”, entered plaintiff’s name, and plaintiff’s photograph
      appeared. See Exhibit W, p. 118, ln. 20 – p. 119, ln. 3.


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     Response: Undisputed. Plaintiff agrees that Lipson picked the fillers to create two
     arrays and notes that the arrays as constructed were objectively biased against
     plaintiff. See Dysart Report, Harvis Decl., Exhibit 4, Section VI.3 (pp. 10-12) (Photo
     Array Filler Bias).

  71. After plaintiff’s photograph appeared, Det. Lipson “clicked compare to populate up
      the five other photos that had similar characteristics, and then when other photos
      came up I individually went through them and picked them.” See Exhibit W, p. 119,
      ln. 3-8; see also Exhibit P, p. 52, ln. 12-17.

     Response: Disputed in part. Plaintiff agrees that Lipson picked the fillers but notes
     that the arrays as constructed were objectively biased against plaintiff. See Dysart
     Report, Harvis Decl., Exhibit 4, Section VI.3 (pp. 10-12) (Photo Array Filler Bias).

  72. Det. Lipson compared filler photos and selected fillers that looked similar to the
      plaintiff’s photograph to include in the photo array. See Exhibit W, p. 122, ln. 22 –
      p. 123, ln. 4; see also Exhibit P, p. 8, ln.22 – p. 9, ln. 8; p. 53, ln. 16-20; see also
      Exhibit D, p. 703, ln. 25 – p. 704, ln. 5; p. 710, ln. 14-18.

     Response: Disputed in part. Lipson’s subjective belief is immaterial, and, in any
     event, the fillers ultimately selected by Lipson resulted in an array that was
     objectively skewed and materially increased the likelihood that plaintiff would be
     selected. See Dysart Report, Harvis Decl., Exhibit 4, Section VI.3 (pp. 10-12) (Photo
     Array Filler Bias).

  73. Det. Lipson created these two (2) photo arrays and placed plaintiff’s photograph in
      a different position in each photo array to keep the photo arrays as fair as possible.
      See Exhibit W, p. 126, ln. 12-15, p. 127, ln. 3-7; see also Exhibit D, p. 704, ln. 15
      – p. 705, ln. 3.

     Response: Disputed. First, Lipson’s intent is immaterial. Second, the array Lipson
     created was objectively unfair and resulted in multiple misidentifications. See Dysart
     Report, Harvis Decl., Exhibit 4, Section VI.3 (pp. 10-12) (Photo Array Filler Bias).

  74. In 2008, it was not the NCPD’s policy to take a photograph of the suspect while he
      was in custody and include that photograph in a photo array that was going to be
      presented to victims and/or witnesses. See Exhibit D, p. 723, ln. 20-25.

     Response: Disputed as misstating the testimony. In the referenced passage, Lipson
     only states that he personally has never taken a photograph of a suspect and

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     substituted it in an array. Lipson says nothing about the NCPD’s policy, and the
     policy, in any event, is immaterial to the question of the due process required by the
     Fourteenth Amendment. See Dysart Report, Harvis Decl., Exhibit 4, Section VI.3 (pp.
     10-12) (Photo Array Filler Bias).

  75. After the two (2) photo arrays were created, Det. Lipson brought them to the
      Hempstead Police Armory. See Exhibit P, p. 9, ln. 11-12.

     Response: Undisputed.

  76. On June 6, 2008, at approximately 3:00 a.m., Det. Decaro read Mr. Ogletree his
      Miranda rights and Mr. Ogletree signed the Miranda card. See Exhibit O, p. 53, ln.
      4-20; p. 144, ln. 1-11; see also Exhibit D, p. 306, ln. 23 – p. 307, ln. 8; see also Mr.
      Ogletree Miranda Card (Exhibit Y). Det. Decaro did not substantively question
      Mr. Ogletree until after he read Mr. Ogletree his Miranda rights at approximately
      3:00 a.m. See Exhibit O, p. 144, ln. 8-11.

     Response: Disputed. Ogletree described the events differently: “They coerced it.
     [T]hey put a picture of [plaintiff] in front of me and said this is the sketch and Josiah
     is trying to blame it on me. They coerced it all the way through.” Trial Tr., Harvis
     Decl., Exhibit 1, p. 267, ln. 13-17 (Ogletree).

  77. Mr. Ogletree signed a written statement with the following language “Josiah told
      me that he had to go down to Maryland (Baltimore) area because it was getting hot
      up in here. He said that he had to ‘blam’, shoot a cab driver over by the chicken
      place on Jackson. He said that he felt that it was hot up here, but he was still coming
      right home.” See Mr. Ogletree signed written statement (Exhibit Z); see also Exhibit
      D, p. 266, ln. 6-7; see also Exhibit O, p. 155, ln. 16 – p. 156, ln. 2.

     Response: Disputed. Describing his interaction with defendants Lipson, Decaro,
     Horowitz and Darienzo, Ogletree testified “I told them what they told me to tell
     them. It was coerced, like I said, again, sir.” Ogletree Trial Tr, Harvis Decl., Exhibit
     1, p. 266, ln. 18-p. 267, ln. 1, 13-17. “I put my signature on that statement. The
     statement is false, sir.” Id. at 270, ln. 20-25; id. at p. 262, ln. 20-274, ln. 21 (“They
     woke me up three something in the morning to sign the statement that they wrote.”);
     id. at, e.g., p. 303, ln. 14-23 (“…They say, You’re sure [plaintiff] didn’t tell you that he’s
     leaving the next morning because he shot somebody at the chicken spot? They just kept
     going on and on for hours trying to get him on some chicken spot. And, honestly, Josiah
     didn’t do it. He didn’t do that. But I was weak and they coerced it and they got me to
     sign that paper.”); id. at, e.g., p. 300, ln. 19-p. 303, ln. 16 (“…They brought a…sketch

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     of somebody and they said, Who does this look like? And I’m telling them, I don’t know
     who that is…They start threatening me and trying to get me to say that it’s Josiah, or
     myself, I guess…I’m, like, Nah, that don’t look like him, Josiah got hair. As a matter of
     fact, he had an afro at the time.”); Trial Tr., Harvis Decl., Exhibit 1, p. 541, ln. 7-25
     (Horowitz) (describing Horowitz’s involvement in interrogating Ogletree); Decaro
     Dep., Harvis Decl., Exhibit 28, p. 69, ln. 9-18 (testifying that Decaro, Darienzo and
     Lipson were obtaining the statements from Ogletree); see also Ogletree Unsigned
     Statement Implicating Plaintiff, annexed to the Harvis Decl. as Exhibit 26 (witnessed
     by Decaro and Lipson); Lipson Dep., Harvis Decl., Exhibit 31 (“Lipson Dep.”), p. 175,
     ln. 15-p. 179, ln. 5 (discussing preparation of unsigned Ogletree statement); see n.1,
     supra (discussing the CIU investigation confirming plaintiff’s innocence).

  78. On the morning of June 6, 2008, Hernandez came to the Hempstead Police Armory
      to view a photo array. See Exhibit P, p. 9, ln. 13-23; see also Exhibit D, p. 472, ln.
      23 – p. 473, ln. 2, p. 705, ln. 7-11; see also Wilmer Hernandez EBT Transcript
      (Exhibit AA) p. 28, ln. 13-17. When Hernandez was at the Hempstead Police
      Armory, he did now (sic) know that anybody was in custody. See Exhibit D, p. 473,
      ln. 14-18.

     Response: Disputed. At approximately 3:20 a.m., the defendants brought Wilmer
     Hernandez to the Armory and told him “[we have] the person who was the cause of the
     incident” but “want[] to show [you] pictures.” Hernandez Dep., Harvis Decl., Exhibit
     30, p. 30, ln. 18-24. The photo array shown to Hernandez was biased against Mr.
     Galloway, objectively leading, based on the array’s construction, to a four-fold increase
     in the statistical likelihood that Mr. Galloway would be selected. See Dysart Report,
     Harvis Decl., Exhibit 4, Section VI.3 (pp. 10-12) (Photo Array Filler Bias); see also id. at
     Section VI.5 (pp. 14-15) (Use of a Non-blind Lineup Administrator Rather Than a
     Double-blind Administrator); Section VI.6 (pp. 15-16) (Pre-identification
     Warnings/Instructions); Section VI.7 (pp. 16-17) (Repeated Identification
     Procedures, Unconscious Transference and Commitment Effects); Section VI.8 (pp.
     17-18) (Witness Confidence & Post-identification Feedback); Section VI.9 (pp. 19-
     20) (Post-event Contamination); see also 30(b)(6) Deposition Testimony annexed
     to the Harvis Decl. as Exhibit 44 (“30(b)(6) Testimony”), p. 46, ln. 25-p. 47, ln. 5
     (acknowledging that a witness should not be told that the subject of an identification
     procedure is in custody).

  79. Det. Lipson and P.O. Horowitz met with Hernandez at the Hempstead Police
      Armory, where Hernandez viewed a photo array. See Exhibit D, p. 705, ln. 7-18; see
      also Exhibit AA, p. 28, ln. 13-17. Det. Lipson told Hernandez “[i]’m going to show

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     a series of six photos, if you recognize anybody, please tell me. And just keep in mind
     that everybody’s facial features and everything changes over time. So take your time
     before answering any questions.” See Exhibit W, p. 138, ln. 16-22.

     Response: Disputed. The array was biased, and the administration flawed and
     improperly documented. Dysart Report, Harvis Decl., Exhibit 4, Section VI.3 (pp. 10-
     12) (Photo Array Filler Bias); see also id. at Section VI.5 (pp. 14-15) (Use of a Non-
     blind Lineup Administrator Rather Than a Double-blind Administrator); Section
     VI.6 (pp. 15-16) (Pre-identification Warnings/Instructions); Section VI.7 (pp. 16-
     17) (Repeated Identification Procedures, Unconscious Transference and
     Commitment Effects); Section VI.8 (pp. 17-18) (Witness Confidence & Post-
     identification Feedback); Section VI.9 (pp. 19-20) (Post-event Contamination);
     Hernandez Dep., Harvis Decl., Exhibit 30, p. 30, ln. 18-24.

  80. On June 6, 2008, at approximately 3:20 a.m., Hernandez immediately selected
      plaintiff’s photograph from the photo array and identified plaintiff as the person
      who he had argument with and shot his friend. See Exhibit P, p. 10, ln. 3-7; see also
      Exhibit D, p. 467, ln. 13- 18; see also Exhibit W, p. 98, ln. 18 – p. 99, ln. 1; see also
      Supporting Deposition for Hernandez Photo Array (Exhibit CC). Plaintiff’s
      photograph was in position #2. See Exhibit E, p. 10, ln. 5- 12; see also Exhibit D, p.
      467, ln. 13-18; see also Photo Array presented to Hernandez (Exhibit BB).
      Hernandez circled the plaintiff’s photograph and signed his name. See Exhibit BB;
      see also Exhibit AA, p. 45, ln. 18-20.

     Response: Disputed. Hernandez could not have “identified plaintiff as the person
     who…shot his friend,” given that Hernandez was not present when his friend was
     shot. See, e.g., Undisputed Fact 30, supra. Additionally, neither Lipson nor Horowitz
     took notes of the interaction with Hernandez (or anything else they did at the
     Armory), nor did they record any statements by Hernandez or his confidence or the
     time it took him to select from the array. Lipson spoke to Hernandez after the array
     was administered but does not recall what was said. See Lipson Dep., Harvis Decl.,
     Exhibit 31, p. 66, ln. 10-15, p. 154, ln. 20-p. 157, ln. 17; Steven Horowitz
     Deposition Testimony (“Horowitz Dep.”), Harvis Decl., Exhibit 45, p. 89, ln. 4-8.
     Lipson likely reinforced Hernandez’s misidentification. Dysart Report, Harvis Decl.,
     Exhibit 4, Section VI.3 (pp. 10-12) (Photo Array Filler Bias); see also id. at Section VI.5
     (pp. 14-15) (Use of a Non-blind Lineup Administrator Rather Than a Double-blind
     Administrator);        Section     VI.6       (pp.      15-16)         (Pre-identification
     Warnings/Instructions); Section VI.7 (pp. 16-17) (Repeated Identification
     Procedures, Unconscious Transference and Commitment Effects); Section VI.8 (pp.

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     17-18) (Witness Confidence & Post-identification Feedback); Section VI.9 (pp. 19-
     20) (Post-event Contamination).

  81. Det. Lipson wrote up a supporting deposition for the photo array which was signed
      by Hernandez and witnessed by Det. Lipson and P.O. Horowitz. See Exhibit CC; see
      also Exhibit P, p. 10, ln. 9-15.

     Response: Disputed. The preprinted form used by Lipson revealed Mr. Galloway’s
     name to Mr. Hernandez and purports to identify Mr. Galloway as “the person who
     shot” Anyosa, even though Hernandez was admittedly not present when Sherwood
     shot Anyosa. See Dysart Report, Harvis Decl. Exhibit 4, p. 4 & n.1, n.2; Hernandez
     Photo Array Deposition, annexed to the Harvis Decl. as Exhibit 35; supra at
     Undisputed Fact 30.

  82. On June 6, 2008, at 4:30 a.m., Plaintiff signed a Miranda rights card, knew that he
      didn’t have to speak with a police officer, but continued to talk voluntarily. See
      Exhibit P, p. 105, ln. 3 – p. 106, ln. 10; p. 156, ln. 10-14; see also Exhibit Q, p. 60,
      ln. 21 – p. 62, ln. 2; see also Plaintiff Miranda Card (Exhibit DD).

     Response: Disputed. Plaintiff’s custodial interrogation was not voluntary, it was
     conducted overnight in a police precinct while plaintiff’s friend, Robert Ogletree,
     was down the hall being coerced into falsely implicating plaintiff. Indeed, after Mr.
     Galloway had been questioned for some time, plaintiff was handed a “rights card”
     to sign; no warnings were given. Galloway Dep., Harvis Decl., Exhibit 20, p. 61, ln.
     8-15. In any event, crediting the time on the rights card means that Hernandez was
     shown the biased array an hour and ten minutes before plaintiff was questioned
     about the Anyosa shooting. This suggests that the officers never considered evidence
     plaintiff might offer about his innocence in the shooting, or the exonerating aspects
     of his appearance, before constructing and administering the arrays. See Response
     80, supra.

  83. Plaintiff told Det. Decaro that he heard about the May 15, 2008 shooting of Anyosa
      on the news and that he went to Baltimore. See Exhibit P, p. 83, ln. 14-25. Plaintiff
      also stated that a few weeks before June 6, 2008, he “was going to Baltimore.” See
      Exhibit Q, p. 106, ln. 11- 12; see also Exhibit D, p. 1000, ln. 20-24.

     Response: Disputed in part. It is immaterial whether plaintiff told Decaro he heard
     about the crime or travelled. Defendant Decaro admitted at his deposition that,
     contrary to Decaro’s sworn allegations in the felony complaints, plaintiff made no
     statements of admission in connection with the May 15, 2008 shooting of Anyosa.

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     See Signed Felony Complaints, annexed to the Harvis Decl. as Exhibit 36; Decaro
     Dep., Harvis Decl., Exhibit 28, p. 195, ln. 18-25; supra at Responses 19-20.

  84. Plaintiff signed a written statement admitting to punching Marky Fouse’s brother
      Chris in the face and taking their marijuana on May 27, 2008. See Exhibit Q, p. 64,
      ln. 19-21; see also Exhibit EE. Plaintiff also signed a written statement and admitted
      to shooting a gun in a separate incident at another individual named Mr.
      Hutchinson, who was with Marky Fouse on or about May 28, 2008. See Exhibit Q,
      p. 110, ln. 14 – p. 114, ln. 15; see also Plaintiff’s Second Signed Statement (Exhibit
      FF).

     Response: Undisputed. This is not material. The Hutchinson case, which was
     dismissed, involved plaintiff acting in self-defense, and the Fouse allegations, which
     plaintiff denies, resulted in a noncriminal disposition as a disorderly conduct
     violation. See Plaintiff’s Deposition, Harvis Decl., Exhibit 20, p. 52, ln. 20-25; p.
     113, ln. 4-p. 114, ln. 25, p. 120, ln. 2-9; id. at p. 131, ln. 9-23.

  85. Det. Lipson drove to Anyosa’s house to present Anyosa with a photo array. See
      Exhibit P, p. 11, ln. 3-5; see also Exhibit D, p. 390, ln. 2-12. Det. Lipson told
      Anyosa that he was “going to show him a series of six photos, to take his time and to
      let me know if he recognizes anybody in the photo. [Det. Lipson] also told [Anyosa]
      that images and people’s facial features change over time. To take his time and look
      at it as much time as he needed to make a determination.” See Exhibit W, p. 182,
      ln. 17-25; see also Exhibit P, p. 11, ln. 7-8.

     Response: Disputed. Instead of arranging for a lineup procedure during business
     hours as was called for under the circumstances under established protocols, Lipson
     woke Mr. Anyosa, who was still freshly wounded, and brought a biased photo array
     to his home containing an outdated and misleading picture of Mr. Galloway. Lipson
     took no notes and did not preserve any notes made by Anyosa. Lipson Dep., Harvis
     Decl., Exhibit 31, p. 66, ln. 10-15, p. 154, ln. 20-p. 157, ln. 17.

  86. On June 6, 2008, at 5:00 a.m., Anyosa positively identified plaintiff’s photograph
      from the photo array and identified plaintiff as the person who shot him in the face.
      See Exhibit P, p. 11, ln. 6-10; see also Exhibit D, p. 390, ln. 10-19; see also Supporting
      Deposition for Anyosa Photo Array (Exhibit GG); see also Exhibit X, p. 3; see also
      Exhibit P, p. 13, ln. 14-21, p. 26, ln. 2-5. Plaintiff’s photograph was in position #4.
      See Exhibit P, p. 11, ln. 6-10; see also Exhibit E, p. 22, ln. 2-17; see also Exhibit D,
      p. 390, ln. 10-1; see also Exhibit GG; see also Exhibit X, p. 3. Anyosa circled the


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      plaintiff’s photograph and signed his name under plaintiff’s photograph in position
      #4. See Exhibit X, p. 4; see also Exhibit D, p. 397, ln. 2-6; see also Exhibit P, p. 11,
      ln. 13-17.

      Response: Disputed. Using an array biased against Mr. Galloway – an innocent man
      with an alibi – and without disclosing to the seriously injured and half-asleep Anyosa
      that Mr. Galloway’s photograph was outdated and that there were material
      discrepancies in plaintiff’s height, hair, age, features and accent, Lipson improperly
      administered the array to Anyosa, failing to document Anyosa’s confidence or any
      information regarding the timing of Anyosa’s selection. See Lipson Dep., Harvis
      Decl., Exhibit 28, p. 66, ln. 10-15, p. 154, ln. 20-p. 157, ln. 17. Lipson then
      informed Anyosa that he had picked the “right person” and that Hernandez had
      made the same selection, impermissibly bolstering Anyosa’s initial tainted
      misidentification. Anyosa described to investigators the corrosive impact Lipson’s
      false assurances had on his confidence: “In court he [Anyosa] didn’t feel 100% sure
      but he felt pressure because he knew Wilmer had [ID’d] him [and] detectives said it
      was [the] right guy…He wishes police had told him [plaintiff] was 5’6” – he would
      have told him that Josiah didn’t do it.” Anania Notes, Harvis Decl., Exhibit 7 at
      P11448, P11455-11456; Dysart Report, Harvis Decl., Exhibit 4, Section VI.8 (pp.
      17-19) (Witness Confidence & Post-Identification Feedback); Section VI.9 (pp. 19-
      20) (Post-Event Contamination).2

  87. Det. Lipson wrote up a supporting deposition for the photo array which was signed
      by Anyosa and witnessed by Det. Lipson. See Exhibit GG; see also Exhibit P, p. 11,
      ln. 13-17.

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   At the pre-trial hearings in plaintiff’s criminal case (in November 2008), defendant Lipson testified that on June 6, 2008,
  he observed plaintiff in custody as depicted in Figure 1, supra, i.e., with an afro, but that Lipson nevertheless prepared and
  administered an array to Hernandez and Anyosa with Mr. Galloway depicted with short hair in an old photograph:




  See Hearing Testimony annexed to the Harvis Decl. as Exhibit 39, p. 30, ln. 18-p. 38, ln. 15 (Lipson); Lipson Dep., Harvis
  Decl., Exhibit 31, p. 68, ln. 3-p. 76, ln. 8. At his deposition, defendant Lipson testified that there was no requirement that
  the photograph used in an array “accurately depict the suspect.” Id.; see Dysart Report, Harvis Decl., Exhibit 4, pp. 10-15
  (discussing bias and improprieties in the arrays shown to Hernandez and Anyosa).

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     Response: Disputed. Before preparing the supporting deposition, Lipson falsely
     informed Anyosa that Anyosa had selected the right person and Lipson also told
     Anyosa that Hernandez had chosen Mr. Galloway from the array. Anania Notes,
     Harvis Decl., Exhibit 7, P11448, P11455-11456. Lipson’s conduct violated basic
     protocols and contaminated Anyosa’s subsequent identifications. Dysart Report,
     Harvis Decl., Exhibit 4, Section VI.3 (pp. 10-12) (Photo Array Bias); Section VI.5
     (pp. 14-15) (Use of a Non-blind Lineup Administrator Rather Than a Double-blind
     Administrator); Section VI.8 (pp. 17-19) (Witness Confidence & Post-
     Identification Feedback); Section VI.9 (pp. 19-20) (Post-Event Contamination).

  88. Det. Decaro processed the police paperwork and signed the felony complaints
      charging plaintiff with crimes from the May 27, 2008 incident with Marky Fouse
      and the May 15, 2008 shooting of Anyosa. See Felony Complaints for May 27, 2008
      incident (Exhibit HH); see also Felony Complaints for May 15, 2008 shooting
      (Exhibit II). Det. Sortino was the subscribing witness for the Felony Complaints
      and was otherwise not involved in this investigation. See Exhibit HH; see also Exhibit
      II.

     Response: Disputed. This assertion is not supported by the record.

     Arrest Report. The arrest report documenting the arrest of plaintiff for shooting
     Anyosa was prepared by defendant Lipson and then reviewed and electronically
     signed by defendant Dorsi at 9:33 p.m. on June 6, 2008. See Arrest Report, Harvis
     Decl., Exhibit 33; Deposition Testimony of Richard Dorsi, annexed to the Harvis
     Decl. as Exhibit 37, p. 23, ln. 18- p. 28, ln. 17.

     Crime Report. The crime report for the Anyosa shooting was prepared and signed
     by defendant Decaro and approved and signed by defendant Sortino. The crime
     report does not indicate when it was prepared but was printed at 9:26 p.m. on June
     6, 2008. See NCPD Crime Report, annexed to the Harvis Decl. as Exhibit 23.

     Felony Complaints. The felony complaints were prepared by defendants Yao and
     Decaro, executed by Decaro and reviewed and countersigned by defendant Sortino.
     Signed Felony Complaints, annexed to the Harvis Decl. as Exhibit 36; Decaro Dep.,
     Harvis Decl., Exhibit 28, p. 189, ln. 19-p. 190, ln. 25, p. 191, ln. 14-p. 196, ln. 22;
     p. 198, ln. 4-p. 201, ln. 21; Deposition Testimony of Joseph Sortino annexed to the
     Harvis Decl. as Exhibit 47, p. 44, ln. 22-p. 52, ln. 21 (discussing the felony
     complaints).

  89. In the afternoon of June 6, 2008, Det. Dluginski went to Anyosa’s house, spoke

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      with Anyosa, and prepared a statement for Anyosa to sign based on what Anyosa
      had told him. See Exhibit J, p. 242, ln. 8-15; p. 247, ln. 7-10; p. 253, ln. 6-16.
      Anyosa signed this written statement on June 6, 2008 at approximately 4:30 pm.
      See Exhibit J, p. 259, ln. 14-22; see also Anyosa’s signed written statement from June
      6, 2008 (Exhibit JJ).

      Response: Disputed. This is impossible, because the statement Dluginski prepared
      repeatedly identifies the perpetrator as “Josiah Galloway,” which is factually
      inaccurate and something Anyosa could not have known (or told Dluginski) unless
      it was disclosed to him by the police. See Anyosa Statement, annexed to the Harvis
      Decl. as Exhibit 38 (“Galloway pulled his car up…the same person, Josiah Galloway
      came back in the same car.”). The preparation of this statement by Dluginski further
      reinforced the misidentification that Lipson and Decaro had caused with their earlier
      mid-morning administration of the biased photo array to Anyosa, and Lipson’s false
      representation to Anyosa that he had picked the right person.3 See Dysart Report,
      Harvis Decl., Exhibit 4, Section VI.3 (pp. 10-12) (Photo Array Filler Bias); see also id. at
      Section VI.5 (pp. 14-15) (Use of a Non-blind Lineup Administrator Rather Than a
      Double-blind Administrator); Section VI.6 (pp. 15-16) (Pre-identification
      Warnings/Instructions); Section VI.7 (pp. 16-17) (Repeated Identification
      Procedures, Unconscious Transference and Commitment Effects); Section VI.8 (pp.
      17-18) (Witness Confidence & Post-identification Feedback); Section VI.9 (pp. 19-
      20) (Post-event Contamination).

      Although Dluginski knew there was a significant discrepancy between plaintiff’s
      appearance and the information provided by Anyosa, he never brought it to the
      attention of Anyosa, which would have resulted in Anyosa’s exoneration of plaintiff.
      See Anania Notes, Harvis Decl., Exhibit 7, P11456 (“He wishes police had told him
      [plaintiff] was 5’6” – he would have told him that Josiah didn’t do it.”); Dluginksi
      Dep., Harvis Decl., Exhibit 34, p. 264, ln. 25-p. 266, ln. 17 (admitting that
      Dluginksi took no steps to make sure that Anyosa was aware of the height
      discrepancy because Dluginski “didn’t think it was pertinent to the case”); id. at p.
      239, ln. 12-p. 240, ln. 25 (claiming not to remember the events of June 6, 2008 and
      denying interaction with Anyosa); p. 258, ln. 24-p. 262, ln. 11 (acknowledging his
      interview of Anyosa and purporting to vouch for its integrity).


  3
   Given the severity of Jorge Anyosa’s injuries on May 15, 2008, his ability to communicate verbally was likely still impaired
  when Lipson went to his house before dawn on June 6, 2008 to secure the identification and when Dluginski went back
  to obtain the statement about Mr. Galloway later that day. Any notes generated during these encounters, however, have
  not been preserved or produced. See Response 39, supra.

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  90. Following June 6, 2008, Det. Cunningham had no further involvement in the
      investigation, arrest and/or prosecution of plaintiff except for testifying at the
      criminal pre-trial hearing in November of 2008. See Exhibit T, p. 120, ln. 2-7.

     Response: Disputed. Detective Cunningham testified that he also participated in a
     discussion about “what charges were entered” against plaintiff. Hearing Testimony,
     Harvis Decl., as Exhibit 39, p. 210, ln. 2-10 (Cunningham).

  91. Following June 6, 2008, P.O. Horowitz had no further involvement in the
      investigation, arrest and/or prosecution of plaintiff, except for showing vehicles to
      witnesses and testifying at the Grand Jury and plaintiff’s criminal trial. See Exhibit
      S, p. 107, ln. 1-25, p. 113, ln. 11-20.

     Response: Disputed. Defendant Horowitz was personally involved in several aspects
     of plaintiff’s arrest, misidentification, and wrongful conviction.

     Defendant Horowitz: 1) responded to the scene of the Anyosa shooting on May 15,
     2008, see Grand Jury Testimony annexed to Harvis Decl. as Exhibit 40 (“Grand
     Jury Tr.”), pp. 29-31; 2) arrested plaintiff, see Crime Report, Harvis Decl., Exhibit
     23; 3) with Decaro, Darienzo and Lipson, coerced Ogletree, see Trial Tr., Harvis
     Decl., Exhibit 1, p. 541, ln. 7-25 (Horowitz) and Trial Testimony, Harvis Decl., Exhibit
     1, p. 262, ln. 20-274, ln. 21 (Ogletree) (“They woke me up three something in the
     morning to sign the statement that they wrote.”); 4) with Lipson, administered the
     biased array to Wilmer Hernandez, see Horowitz Trial Testimony, Harvis Decl., Exhibit
     1, p. 548, ln. 10- p. 550, ln. 3; 5) presented vehicles with no connection to Sherwood
     or the crime to Hernandez and Anyosa that were not identified, see id. at p. 550, ln. 4-
     p. 551, ln. 4; 6) testified before the grand jury, see Grand Jury Testimony, Harvis Decl.,
     Exhibit 40; and 7) testified at trial, including to dispute Ogletree’s coercion claims. See
     Horowitz Trial Testimony, Harvis Decl., Exhibit 1, p. 541, ln. 19-25.

  92. After June 6, 2008, Nassau County District Attorney (“NCDA”) Assistant District
      Attorney (“ADA”) Joseph Larocca (“ADA Larocca”) presented the May 15, 2008 cab
      shooting to a Nassau County Grand Jury. See ADA Larocca EBT Transcript (Exhibit
      KK) p. 24, ln. 1-4. After Det. Horowitz, Det. Lipson, Anyosa and Hernandez
      testified (see Exhibit E), the Nassau County Grand Jury indicted Plaintiff for the
      following crimes related to the May 15, 2008 shooting: 1) NYS Penal Law section
      110/125.25(1) – Attempt to Commit Murder in the Second Degree; 2) NYS Penal
      Law section 120.10(1) – Assault in the First Degree; 3) NYS Penal Law section
      120.10(2) – Assault in the First Degree; 4) NYS Penal Law section 265.09(1) –


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     Criminal Use of a Firearm in the First Degree; 5) NYS Penal Law section
     265.03(1)(b) – Criminal Possession of a Weapon in the Second Degree; and 6) NYS
     Penal Law section 265.03(3) – Criminal Possession of a Weapon in the Second
     Degree. See Nassau County Indictment No. 1315N/2008 (Exhibit LL).

     Response: Disputed. The grand jury evaluating evidence in connection with the
     Anyosa shooting was not informed, inter alia: 1) that Ogletree had been coerced into
     falsely inculpating plaintiff; 2) that plaintiff was approximately six inches shorter
     than the perpetrator, was of a different age, had different hair, had no accent and
     was missing a front tooth; 3) that Anyosa and Hernandez had been shown biased
     photo arrays containing outdated and misleading pictures of plaintiff; 4) that police
     had received a tip that Kenton Sherwood, the perpetrator, had committed the crime;
     5) that the felony complaints contained material misstatements, including that
     plaintiff had confessed to shooting Anyosa; 6) that Anyosa had been falsely informed
     that he selected the right person and that Hernandez had picked the same person;
     7) that plaintiff did not have access to a Toyota; 8) that plaintiff had an alibi; or 9)
     that Anyosa was not confident but was assured by detectives that he had picked the
     right person. See generally Grand Jury Tr., Harvis Decl., Exhibit 40; Dysart Report,
     Harvis Decl., Exhibit 4.

  93. On June 30, 2008, Nassau County Court Judge Alan Honorof issued an order
      directing plaintiff to participate in a physical line-up procedure. See Court Ordered
      Line-Up (Exhibit MM). The application was brought by ADA Larocca, on consent
      of plaintiff’s criminal defense attorney at the time, Glenn Hardy. See Exhibit MM;
      see also Exhibit KK, p. 78, ln. 4-9. The order stated plaintiff’s criminal defense
      attorney may be present and that plaintiff was not to “alter or remove any scalp or
      facial hair.” See Exhibit MM.

     Response: Disputed. The order required plaintiff to “stand in” a lineup, where his
     exonerating height would be readily apparent (as opposed to a seated lineup meant
     to conceal his height), and allowed plaintiff’s attorney, who showed up “at the last
     minute,” to attend only “in the capacity of an observer,” i.e. with no ability to make
     objections. As defendant Ross testified: “I said, ‘Glenn [Hardy], you know you are
     here as a witness. You are here to watch.’…[defense counsel is] only there to witness
     the lineup.” Deposition Transcript of Matthew Ross, November 16, 2020, annexed
     to the Harvis Decl. as Exhibit 42 (“Ross Dep. I”), p. 85, ln. 22-p. 86, ln. 10; 30(b)(6)
     Testimony, Harvis Decl. as Exhibit 44, p. 57, ln. 5-24, p. 59, ln. 24-p. 60, ln. 17;
     Lineup Order annexed to the Harvis Decl. as Exhibit 41; Trial Tr., Harvis Decl.,
     Exhibit 1, p. 1030, ln. 21, p. 1031, ln. 3 (Galloway). Further, there is nothing in

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     the record to indicate that Mr. Galloway had knowledge of the contents of the order.

  94. On August 5, 2008, the NCPD attempted to complete a line-up but were (sic)
      unable to as a result of plaintiff’s hair, and the line-up was postponed. See Exhibit
      KK, p. 82, ln. 4-14; see also Exhibit J, p. 305, ln. 11-22; see also Exhibit Q, p. 83, ln.
      20-24. During this first attempt to conduct a line up, plaintiff’s hair was in a
      different style than at the time of his arrest. See Exhibit Q, p. 83, ln. 7-8.

     Response: Disputed. Defendant Ross – who has been accused of perjury by his
     fiancé, see, e.g., Magliaro Affidavit, annexed to the Harvis Decl. as Exhibit 45 –
     brandished electric shears and threatened to cut Mr. Galloway’s hair in violation of
     Judge Honorof’s order, seeking to remove a key distinguishing characteristic of Mr.
     Galloway that would, according to Anyosa, have immediately exonerated plaintiff,
     who was innocent. Galloway Dep., Harvis Decl., Exhibit 20, p. 84, ln. 15-p. 85, ln.
     25; Trial Tr., Harvis Decl., Exhibit 1, p. 1014, ln. 14-p. 1015, ln. 15 (Galloway);
     Anania Notes, Harvis Decl., Exhibit 7, P11456 (“[Anyosa] wishes police had told
     him [plaintiff] was 5’6” – he would have told him that Josiah didn’t do it.”); see
     Dysart Report, Harvis Decl., Exhibit 4, Section VI.8 (pp. 17-19) (Witness
     Confidence & Post-Identification Feedback); Section VI.9 (pp. 19-20) (Post-Event
     Contamination); 30(b)(6) Testimony, Harvis Decl., Exhibit 43, p. 59, ln. 4-10; see
     also, e.g., Dluginksi Dep., Harvis Decl., Exhibit 34; p. 264, ln. 25-p. 266, ln. 17
     (admitting that Dluginksi, who met Anyosa at length on June 6, 2008, did not
     mention the five-to-six-inch height discrepancy between plaintiff and Kenton
     Sherwood because Dluginski “didn’t think it was pertinent to the case”).

  95. Plaintiff’s hair was not cut by any member of law enforcement. See Exhibit D, p.
      1029, ln. 2-3; see also Jeffrey Noble EBT Transcript (Exhibit AAA), p. 85, ln. 12-13.

     Response: Undisputed. However, the only reason plaintiff’s hair was not cut is because
     Mr. Galloway had the temerity to defy defendant Ross. See Trial Tr., Harvis Decl.,
     Exhibit 1, p. 1028, ln. 21-p. 1029, ln. 6 (Galloway); Magliaro Affidavit, Harvis Decl.,
     Exhibit 45, ¶ 8.

  96. On August 14, 2008, Det. Ross conducted the plaintiff’s physical line-up procedure
      with other NCPD members. See Exhibit D, p. 754, ln. 4-16. Prior to conducting
      the line-up procedure, Det. Ross did not do any work on this investigation. See Det.
      Ross EBT Transcript (Exhibit NN) p. 46, ln. 19-22; see also Exhibit P, p. 212, ln.
      21-23.

     Response: Disputed. Before the lineup took place on August 14, 2008 using police

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      officer fillers much older than plaintiff who did not resemble him while plaintiff was
      disguised by a hat, covered with a sheet and seated on two phonebooks, see Figure
      2, infra, defendant Ross, who was running the procedure, allowed a witness, believed
      to be Anyosa, to be escorted past where Mr. Galloway was being held – a multi-
      windowed room known as the “fishbowl” – and the witness saw plaintiff, further
      tainting the procedure. Galloway Dep., Harvis Decl., Exhibit 20, p. 87, ln. 11-p.
      88, ln. 20; Trial Tr., Harvis Decl., Exhibit 1, p. 1031, ln. 16-25 (Galloway);
      Dluginski Dep., Harvis Decl., Exhibit 34, p. 304, ln. 10-16; see Responses 94-95,
      supra; Dysart Report, Harvis Decl., Exhibit 4, Section VI.4 (pp. 12-14) (Live Lineup
      Bias – August 14, 2008).




                 Figure 2 Photograph of August 14, 2008 Lineup (P7412), annexed to the Harvis Decl. as Exhibit 50


  97. Det. Ross had conducted approximately 25 line-up procedures prior to August of
      2008. See Exhibit NN, p. 28, ln. 20-24. As of August of 2008, all line-up procedures
      in Nassau County were done in a seated position. See Exhibit NN, p. 32, ln. 4-6; see
      also Exhibit D, p. 777, ln. 5-14; see also Nassau County 30(b)(6) witness Detective
      Lyndon John EBT Transcript (Exhibit OO), p. 57, ln. 5-10.

      Response: Disputed in part. Plaintiff agrees that Nassau County had a policy of
      conducting seated lineups.4 This policy was a proximate cause of plaintiff’s wrongful
      conviction.


  4
   At its deposition pursuant to Fed. R. Civ. P. 30(b)(6), Nassau County acknowledged that standing lineups were permitted
  in 2008 and that it is easier to determine participants’ heights using a standing lineup. (30(b)(6) Witness Testimony,
  Harvis Decl., Exhibit 44, p. 57, ln. 5-p. 64, ln. 6; see also Lineup Form, annexed to the Harvis Decl. as Exhibit 53 (with
  check boxes for “sitting” and “standing”).

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     With respect to defendant Ross, however, plaintiff respectfully submits that
     regardless of the number of lineups he may have conducted, his involvement in this
     case is troubling.

     In addition to the perjury allegation by his fiancé Lori Magliaro (based on admissions
     from Ross related to improprieties in the lineups involving plaintiff, see Magliaro
     Affidavit, Harvis Decl., Exhibit 45, ¶¶ 6-8) defendant Ross testified at his deposition
     that he had never been disciplined despite having pled guilty to a series of
     departmental charges for dishonesty, including filing false reports and making false
     official statements, and being under criminal investigation by the Nassau County
     District Attorney’s office for a pattern of thefts of government property. See Ross
     Dep. I, Harvis Decl., Exhibit 42, p. 16, ln. 12-p. 18, ln. 7.

     Indeed, Ross was disciplined in connection with an official finding that he had
     “submitted a false report to Sergeant Richard Dorsi,” a defendant supervisor in this
     action. Deposition Transcript of Matthew Ross, June 7, 2022, annexed to the Harvis
     Decl. as Exhibit 43 (“Ross Dep. II”), p. 28, ln. 2-p. 29, ln. 4, p. 49, ln. 15. In another
     case, Ross was accused of assaulting a suspect with a baseball bat. See id. at p. 56, ln.
     9-p. 58, ln. 18.

  98. Det. Dluginski was assisting Det. Ross with the plaintiff’s line-up procedure. See
      Exhibit D, p. 754, ln. 14-16. Plaintiff was brought to the NCPD Third Squad for
      the line-up procedure. See Exhibit D, p. 757, ln. 17-21. The NCPD detectives
      requested fillers to appear to the NCPD Third Squad for the line-up procedure, and
      requested that the fillers be black males. See Exhibit D, p. 765, ln. 3-9.

     Response: Disputed in part. Defendant Ross ran the lineup and defendant
     Dluginski obtained fillers who were police officers “that were available at the time.”
     The officers used as fillers were Black men that were not selected based on their
     appearance or age. See Dluginski Dep., Harvis Decl., Exhibit 34, p. 321, ln. 4-17;
     Dysart Report, Harvis Decl., Exhibit 4, p. 12.

  99. Plaintiff’s criminal defense attorney, Glenn Hardy, was present for the line-up
      procedure and was present for the viewing of the line-up. See Exhibit NN, p. 82, ln.
      7-11; see also Exhibit KK, p. 80, ln. 21-24; see also Exhibit P, p. 213, ln. 7-11, p.
      214, ln. 6-10. ADA Larocca was also present for the line-up procedure. See Exhibit
      KK, p. 80, ln. 25 – p. 81, ln. 2. Mr. Hardy picked for plaintiff to sit in seat #5. See
      Exhibit P, p. 214, ln. 1-12; see also Exhibit NN, p. 83, ln. 18-23; p. 97, ln. 18-22.

     Response: Disputed. Hardy “came at the last minute right before the lineup was

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     conducted.” Trial Tr., Harvis Decl., Exhibit 1, p. 1030, ln. 2-p. 1031, ln. 3 (Galloway).
     Mr. Hardy had no say in whether Mr. Galloway wore a hat or was covered by a sheet
     and was not given an opportunity to object to those aspects of the procedure. Deposition
     Transcript of Glenn Hardy annexed to the Harvis Decl. as Exhibit 48 (“Hardy Dep.”),
     p. 31, ln. 23-p. 32, ln. 25. Describing his role at the lineup, Mr. Hardy explained: “I am
     an observer. The only thing I can do is ask that my client be sat in position one, two,
     three, four, five or six.” Id. at p. 33, ln. 3-10; see Lineup Order, Harvis Decl., Exhibit 41
     (authorizing Hardy to attend “in the capacity of an observer”). As defendant Ross, who
     was running the lineup, explained: “I said, ‘Glenn [Hardy], you know you are here
     as a witness. You are here to watch.’…[defense counsel is] only there to witness the
     lineup.” Ross Dep. I, Harvis Decl., Exhibit 42, p. 85, ln. 21-p. 86, ln. 10. In any
     event, plaintiff chose his seat in the lineup. Trial Tr., Harvis Decl., Exhibit 1, p.
     1030, ln. 21-p. 1031, ln. 6 (Galloway).

  100. The fillers were then brought into the room. See Exhibit P, p. 215, ln. 2-6. All
     participants were covered with a white sheet so that the only thing that the viewers
     of the line-up could see were the heads and faces of the individuals in the line-up.
     See Exhibit P, p. 215, ln. 4-5. It was NCPD policy to have all articles of clothing
     covered during a line-up procedure, and it was common for NCPD to use a sheet to
     accomplish this. See Exhibit D, p. 801, ln. 4-7.

     Response: Disputed in part. The sheets were used to conceal plaintiff’s appearance
     and make him appear taller, bigger and more like the perpetrator Kenton Sherwood
     (and Anyosa’s description of Sherwood). Plaintiff agrees that Nassau County had a
     policy of covering lineup participants with sheets, but notes that this is immaterial
     to the question of whether, in this instance, the policy of using sheets contributed to
     plaintiff’s misidentification. Defendants concede that using sheets to disguise
     plaintiff’s appearance would be improper. See Dysart Report, Harvis Decl., Exhibit
     4, Section VI.4 (Live Lineup Bias – August 14, 2008) (pp. 12-14); 30(b)(6) Dep.,
     p. 46, ln. 25-p. 47, ln. 5.

  101. Plaintiff sat on two phone books during the line-up procedure. See Exhibit D,
     p. 787, ln. 6-8. It was NCPD policy to have all individuals participating in the seated
     line-up to be the same height. See Exhibit D, p. 787, ln. 15-16, p. 800, ln. 22 – p.
     801, ln. 6; see also Exhibit OO, p. 50, ln. 20-22. It was common to have individuals
     participating in line-up procedure administer by the NCPD to sit on phone books.
     See Exhibit OO, p. 51, ln. 1-2.

     Response: Disputed. The phone books were used to conceal plaintiff’s appearance

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     and make him appear taller, bigger and more like the perpetrator Kenton Sherwood
     (and Anyosa’s description of Sherwood). Plaintiff agrees that Nassau County had a
     policy of having lineup participants sit on phone books, but notes that this is
     immaterial to the question of whether, in this instance, the policy of using
     phonebooks contributed to plaintiff’s misidentification. Defendants concede that
     using the phone books to disguise plaintiff’s appearance would be improper. See
     Dysart Report, Harvis Decl., Exhibit 4, § VI.4 (Live Lineup Bias – August 14, 2008)
     (pp. 12-14); 30(b)(6) Deposition Testimony, p. 46, ln. 25-p. 47, ln. 5; see also Trial
     Tr., Harvis Decl., Exhibit 1, p. 1019, ln. 2-6 (Galloway) (“…Detective Ross,
     because I sat down and I was shorter than everybody, he came and gave me two
     phone books. He said sit on the two phone books.”).

  102. After discussion with Mr. Hardy, Det. Sgt. Dorsi, Det. Dluginski, ADA Larocca
     and Det. Ross, it was decided that all of the line-up participants were going to wear
     hats as a result of plaintiff’s hair. See Exhibit P, p. 215, ln. 15-25; see also Exhibit
     NN, p. 95, ln. 10-21; see also Exhibit KK, p. 109, ln. 7-13.

     Response: Disputed in part. Plaintiff agrees that Dorsi, Dluginski and Ross decided
     to conceal plaintiff’s braids with a hat. Mr. Hardy was not involved in the decision.
     See Hardy Dep., Harvis Decl., Exhibit 48, p. 31, ln. 23-p. 32, ln. 6; Dluginski Dep.,
     Harvis Decl., Exhibit 340, ln. 15-p. 342, ln. 14 (Ross and Dluginski met and
     decided that the lineup involving plaintiff would be conducted using hats and
     sheets).

  103. Mr. Hardy had no objection to the procedure for the line-up, had no objection
     to all the fillers and plaintiff wearing a hat, and had no objection to having the
     plaintiff sit on phone books. See Exhibit P, p. 216, ln. 1-4; see also Exhibit NN, p.
     84, ln 14-18; see also Exhibit AAA, p. 87, ln. 3 – p. 88, ln. 5.

     Response: Disputed. Hardy, who was only authorized to attend “in the capacity of an
     observer,” see Lineup Order, Harvis Decl., Exhibit 41, “came at the last minute right
     before the lineup was conducted,” Trial Tr., Harvis Decl., Exhibit 1, p. 1030, ln. 2-p.
     1031, ln. 3 (Galloway), and was not permitted to provide any input or object to any
     aspect of the procedure. Hardy Dep., Harvis Decl., Exhibit 48, p. 31, ln. 23-p. 32, ln.
     25. Speaking of the lineup, Mr. Hardy explained: “I am an observer. The only thing I
     can do is ask that my client be sat in position one, two, three, four, five or six.” Id. at p.
     33, ln. 3-10; see Lineup Order, Harvis Decl., Exhibit 41 (authorizing Hardy to attend
     “in the capacity of an observer”). As defendant Ross, who was running the lineup,
     explained: “I said, ‘Glenn [Hardy], you know you are here as a witness. You are here

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     to watch.’…[defense counsel is] only there to witness the lineup.” Ross Dep. I,
     Harvis Decl., Exhibit 42, p. 85, ln. 22-p. 86, ln. 10.

  104. The NCPD Crime Scene Unit took a photograph of the fillers and the plaintiff
     in the line-up procedure. See Exhibit NN, p. 126, ln. 15-24; see also Line-Up
     Photograph (Exhibit PP). There were six (6) people in the line-up: the plaintiff and
     five (5) fillers. See Exhibit PP.

     Response: Undisputed.

  105. Anyosa arrived to the NCPD Third Squad in the afternoon of August 14, 2008
     to view the line-up. See Exhibit D, p. 401, ln. 11-21. Anyosa came to the NCPD
     Third Squad alone. See Exhibit D, p. 402, ln. 2-3.

     Response: Undisputed.

  106. Det. Strange was assigned to Anyosa to ensure that Anyosa was separated from
     everybody else involved in the line-up procedure. See Exhibit P, p. 213, ln. 15-22;
     see also Det. Strange EBT Transcript (Exhibit QQ) p. 13, ln. 6-23; see also Exhibit D,
     p. 745, ln. 8-14. Anyosa was brought to a room in the NCPD Third Precinct with
     Det. Strange. See Exhibit QQ, p. 14, ln. 2-4.

     Response: Disputed. Anyosa appears to have been brought into contact with
     plaintiff when plaintiff was in the “fishbowl.” Galloway Dep., Harvis Decl., Exhibit
     20, p. 87, ln. 11-p. 88, ln. 20; Trial Tr., Harvis Decl., Exhibit 1, p. 1031, ln. 16-24
     (Galloway); Dluginski Dep., Harvis Decl., Exhibit 34, p. 304, ln. 10-16; see
     Responses 94-95, supra.

  107. Det. Ross spoke with Anyosa about the line-up procedure and gave Anyosa
     instructions for viewing the line-up. See Exhibit P, p. 216, ln. 11-24. It was the
     practice of Det. Ross to give any witness viewing a line-up instructions prior to
     viewing the line-up. See Exhibit NN, p. 73, ln. 23 – p. 74, ln. 25.

     Response: Disputed. Ross has no recollection of providing instructions to Anyosa
     or Hernandez. Ross Dep. I, Harvis Decl., Exhibit 42, p. 72, ln. 20-p. 73, ln. 22, p.
     77, ln. 17-24. Dluginski testified that he was responsible for escorting both witnesses
     and that neither one had questions. Dluginski Dep., Harvis Decl., Exhibit 34, p.
     338, ln. 3-p. 339, ln. 14.

  108. Anyosa was brought to the line-up viewing area where Det. Ross, Det. Dluginski,
     Mr. Hardy, Det. Sgt. Dorsi and ADA Larocca were present. See Exhibit P, p. 216,
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     ln. 25, p. 217, ln. 16-19. Anyosa viewed the line-up and identified the person seated
     in position #5, the plaintiff, as the person who shot him in the face. See Exhibit P,
     p. 217, ln. 10-13; see also Exhibit D, p. 403, ln. 4-19.

     Response: Disputed. Dluginksi was not present when Anyosa misidentified plaintiff.
     Dluginski Dep., Harvis Decl., Exhibit 34, p. 268, ln. 10-18. Anyosa was not
     confident but had been told he picked the right guy and previously exposed to
     plaintiff’s face through the earlier, improper photo array. See Anania notes, Harvis
     Decl., Exhibit 7, P11455-456; Dysart Report, Harvis Decl., Exhibit 4, Section VI.4
     (pp. 12-14) (Live Lineup Bias – August 14, 2008).

  109. No one from NCPD told Anyosa who to select in the line-up. See Exhibit D,
     p. 404, ln. 1-8. After Anyosa selected plaintiff, Anyosa was escorted back to Det.
     Strange. See Exhibit P, p. 217, ln. 20-24. Anyosa did not have contact with
     Hernandez between the time he viewed the line-up and when he was brought back
     to Det. Strange. See Exhibit D, p. 746, ln. 4-7.

     Response: Disputed. A defendant detective – either Lipson, Dluginski, or both –
     caused Anyosa to misidentify plaintiff at the lineup by informing Anyosa, falsely,
     that he had selected the right person when chose plaintiff from the biased array. See
     Anania notes, Harvis Decl., Exhibit 7, P11455-456; Dysart Report, Harvis Decl.,
     Exhibit 4, Section VI.5 (pp. 14-15) (Use of a Non-blind Lineup Administrator
     Rather Than a Double-blind Administrator); Section VI.6 (pp. 15-16) (Pre-
     identification Warnings/Instructions); Section VI.7 (pp. 16-17) (Repeated
     Identification Procedures, Unconscious Transference and Commitment Effects);
     Section VI.8 (pp. 17-18) (Witness Confidence & Post-identification Feedback);
     Section VI.9 (pp. 19-20) (Post-event Contamination).

  110. On August 14, 2008, at approximately 4:02 p.m., Det. Strange spoke with
     Anyosa and prepared a written statement for Anyosa to sign. See Exhibit QQ, p. 40,
     ln. 19-22; see also Anyosa Signed Line-Up Statement (Exhibit RR). Det. Strange
     presented Anyosa with the written statement, and Anyosa signed it. See Exhibit RR;
     see also Exhibit QQ, p. 46, ln. 3-7.

     Response: Disputed. In accordance with Nassau County policy, Detective Strange
     prepared a statement reinforcing Anyosa’s misidentification of plaintiff, again
     identifying plaintiff by name to Anyosa and attempting to bolster the lineup by
     characterizing it as consisting of “6 male blacks with similar characteristics.” As with



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     Anyosa’s prior statements, the diction reveals the hand of the police. See Anyosa
     Lineup Statement, annexed to the Harvis Decl. as Exhibit 54.

  111. Det. Strange’s only involvement in plaintiff’s criminal case was assisting in the
     August 14, 2008 line-up procedure. See Exhibit QQ p. 13, ln. 6-13. Det. Strange’s
     sole role was to “stay with [Anyosa], to keep him separated and to take a statement
     [from Anyosa] after he viewed the lineup.” See Exhibit QQ, p. 13, ln. 20-23. Plaintiff
     never had any interaction with Det. Strange. See Exhibit Q, p. 195, ln. 7-10.

     Response: Undisputed. However, defendant Strange’s involvement is sufficient to
     raise jury questions with respect to his liability. See Response 110, supra.

  112. On August 14, 2008, Anyosa did not see Hernandez prior to viewing the line-
     up. See Exhibit D, p. 402, ln. 12-15; p. 755, ln. 22-25. Anyosa did not view any of
     the line-up fillers before the line-up was conducted. See Exhibit D, p. 755, ln. 6-9.

     Response: Disputed. Anyosa saw plaintiff before the lineup. Galloway Dep., Harvis
     Decl., Exhibit 20, p. 87, ln. 11-p. 88, ln. 20; Trial Tr., Harvis Decl., Exhibit 1, p.
     1031, ln. 16-25 (Galloway); Dluginski Dep., Harvis Decl., Exhibit 34, p. 304, ln.
     10-16; see Responses 94-95, supra.

  113. Hernandez arrived at the NCPD Third Squad in the afternoon of August 14,
     2008 to view the line-up. See Exhibit D, p. 470, ln. 23 – p. 471, ln. 1-4. Hernandez
     came to the NCPD Third Squad alone. See Exhibit D, p. 471, ln. 7-8.

     Response: Undisputed.

  114. Det. Darienzo was assigned to Hernandez to ensure that Hernandez was
     separated from everybody else involved in the line-up procedure. See Exhibit P, p.
     213, ln. 15-22; see also Exhibit V, p. 92, ln. 12-17; see also Exhibit D, p. 748, ln. 2-5.
     Hernandez was brought to a private room in the NCPD Third Precinct with Det.
     Darienzo. See Exhibit D, p. 748, ln. 6-11.

     Response. Disputed. It may have been Hernandez who saw plaintiff in the
     “fishbowl.” Galloway Dep., Harvis Decl., Exhibit 20, p. 87, ln. 11-p. 88, ln. 20;
     Trial Tr., Harvis Decl., Exhibit 1, p. 1031, ln. 16-24 (Galloway); Dluginski Dep.,
     Harvis Decl., Exhibit 34, p. 304, ln. 10-16; see Responses 94-95, supra.

  115. Det. Ross spoke with Hernandez about the line-up procedure and gave
     Hernandez instructions for viewing the line-up. See Exhibit P, p. 218, ln. 2-12; see
     also Exhibit D, p. 748, ln. 6-13.
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     Disputed. Ross has no recollection of providing instructions to Anyosa or
     Hernandez. Ross Dep. I, Harvis Decl., Exhibit 42, p. 72, ln. 20-p. 73, ln. 22, p. 77,
     ln. 17-24. Dluginski testified that he was responsible for escorting both witnesses
     and that neither one had questions. Dluginski Dep., Harvis Decl., Exhibit 34, p.
     338, ln. 3-p. 339, ln. 14.

  116. Hernandez was brought to the line-up viewing area where Det. Ross, Det.
     Dluginski, Mr. Hardy and ADA Larocca were present. See Exhibit P, p. 218, ln. 2-
     4, p. 219, ln. 1-8; see also Exhibit KK, p. 24, ln. 17-19. Hernandez viewed the line-
     up and identified the person seated in position #5, the plaintiff, as the person who he
     had an argument with the same day Anyosa was shot. See Exhibit P, p. 219, ln. 1-6;
     see also Exhibit D, p. 471, ln. 18-24.

     Response: Disputed. Dluginksi was not present when Hernandez misidentified
     plaintiff. Dluginski Dep., Harvis Decl., Exhibit 34, p. 268, ln. 10-18. Hernandez,
     who did not see the shooting, admitted at his deposition that he “recognize[d] the
     person in the lineup from when [he] had seen [him] in the photo array.” Hernandez
     Dep., Harvis Decl., Exhibit 30, p. 55, ln. 9-16. See Dysart Report, Harvis Decl.,
     Exhibit 4, Section VI.4 (pp. 12-14) (Live Lineup Bias – August 14, 2008).

  117. No one from NCPD told Hernandez who to select in the line-up. See Exhibit D,
     p. 471, ln. 25 – p. 472, ln. 4; p. 748, ln. 20-24. After Hernandez selected plaintiff,
     Hernandez was escorted back to Det. Darienzo. See Exhibit D, p. 749, ln. 3-5.
     Hernandez did not have contact with Anyosa between the time he viewed the line-
     up and when he was brought back to Det. Darienzo. See Exhibit D, p. 472, ln. 5-7;
     p. 749, ln. 6-10.

     Response: Disputed. Hernandez’s misidentification resulted from the prior flawed
     procedures to which defendants had subjected him and the improper manner in
     which they conceived and executed the lineup. Hernandez Dep., Harvis Decl.,
     Exhibit 30, p. 55, ln. 9-16. See Dysart Report, Harvis Decl., Exhibit 4, Section VI.4
     (pp. 12-14) (Live Lineup Bias – August 14, 2008); Section VI.5 (pp. 14-15) (Use of
     a Non-blind Lineup Administrator Rather Than a Double-blind Administrator);
     Section VI.6 (pp. 15-16) (Pre-identification Warnings/Instructions); Section VI.7
     (pp. 16-17) (Repeated Identification Procedures, Unconscious Transference and
     Commitment Effects); Section VI.8 (pp. 17-18) (Witness Confidence & Post-
     identification Feedback); Section VI.9 (pp. 19-20) (Post-event Contamination).




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  118. On August 14, 2008, at approximately 4:05 p.m., Det. Darienzo spoke with
     Hernandez and prepared a written statement for Hernandez to sign. See Exhibit V,
     p. 106, ln. 6- 17; see also Hernandez Signed Line-Up Statement (Exhibit SS). Det.
     Darienzo presented Hernandez with the written statement, and Hernandez signed
     it. See Exhibit SS; see also Exhibit V, p. 103, ln. 10-12.

     Response: Disputed in part. Plaintiff agrees that Darienzo prepared a statement
     related to the misidentification that was signed by Hernandez.

  119. On August 14, 2008, Hernandez did not see Anyosa prior to viewing the line-
     up and did not see Anyosa when he viewed the line-up. See Exhibit D, p. 471, ln.
     13-17; p. 755, ln. 22-25. Hernandez did not view any of the line-up fillers before
     the line-up was conducted. See Exhibit D, p. 755, ln. 6-9.

     Response: Disputed. It may have been Hernandez who saw plaintiff in the
     “fishbowl.” Galloway Dep., Harvis Decl., Exhibit 20, p. 87, ln. 11-p. 88, ln. 20;
     Trial Tr., Harvis Decl., Exhibit 1, p. 1031, ln. 16-24 (Galloway); Dluginski Dep.,
     Harvis Decl., Exhibit 34, p. 304, ln. 10-16; see Responses 94-95, supra.

  120. On August 14, 2008, throughout the line-up process, Det. Ross filled in the
     NCPD Line-Up Worskeet (sic). See Exhibit P, p. 219, ln. 24 – p. 220, ln. 13; see
     also Exhibit NN, p. 101, ln. 21 – p. 102, ln. 10; see also NCPD Line-Up Worksheet
     (Exhibit TT). Per this Line-Up Worksheet, Det. Sgt. Dorsi was the NCPD Third
     Squad supervisor. See Exhibit TT. ADA LArocca and Mr. Hardy were present for
     the line-up procedure. See Exhibit TT.

     Response: Disputed in part. Plaintiff agrees that Ross, Dorsi, Larocca and Hardy
     were present when plaintiff was misidentified by Anyosa and Hernandez and that
     Ross completed the form at Harvis Decl., Exhibit 53.

  121. Det. Ross timed how long it took Anyosa and Hernandez to make their line-up
     selection. See Exhibit P, p. 217, ln. 14-15; p. 220, ln. 11-13.

     Response: Undisputed.

  122. Per this Line-Up Worksheet, Anyosa made a selection after viewing the line-up
     on August 14, 2008 at 4:00 pm, and it took Anyosa 23 seconds to select plaintiff
     after viewing the line-up. See Exhibit TT. Per this Line-Up Worksheet, Hernandez
     made a selection after viewing the line-up on August 14, 2008 at 4:03 pm, and it took
     Hernandez 9 seconds to select plaintiff after viewing the line-up. See Exhibit TT.

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     Response: Disputed in part. Plaintiff agrees that Ross wrote these times on the form
     but disputes the accuracy of the underlying measurements.

  123. Prior to conducting the line-up procedure, Det. Ross was not involved in the
     investigation of Anyosa’s May 15, 2008 shooting. See Det. Ross EBT Transcript
     (Exhibit NN) p. 46, ln. 19-22; see also Exhibit P, p. 212, ln. 21-23

     Response: Disputed in part. Defendant Ross was involved in threatening to shave
     or cut plaintiff’s hair on August 5, 2008, in an effort to deprive him of the
     exonerating characteristic of his own hair and facilitate his misidentification.
     Galloway Dep., Harvis Decl., Exhibit 20, p. 84, ln. 15-p. 85, ln. 25; Trial Tr.,
     Harvis Decl., Exhibit 1, p. 1014, ln. 14-p. 1015, ln. 15 (Galloway).

  124. Det. Yao did not have any involvement in the photo array identification
     procedures with respect to the May 15, 2008 shooting of Anyosa. See Det. Yao EBT
     Transcript (Exhibit UU) p. 59, ln. 20 – p. 60, ln. 14. Det. Yao did not speak with
     plaintiff on June 5, 2008, June 6, 2008 or June 7, 2008. See Exhibit UU, p. 55, ln.
     10-14. Det. Yao does not know who Anyosa is and did not speak with Anyosa. See
     Exhibit UU, p. 58, ln. 16-20). Det. Yao does not know who Hernandez is and did
     not speak with Hernandez. See Exhibit UU, p. 59, ln. 10-19.

     Response: Disputed. Regardless of Yao’s recollection, defendant Yao was the lead
     detective in the Marky Fouse case who, along with Lipson and Decaro, was part of
     the third squad team that “investigated” and caused plaintiff to be “charged with
     other cases,” including the Anyosa shooting. Morning Report, Harvis Decl., Exhibit
     24, at P1109 (“After investigation by 3rd Squad Det Decaro / Lipson / Yao subjects
     were charged with other cases.”) (cleaned up).

  125. Plaintiff does not recall having any interaction with Det. Yao. See Exhibit Q,
     p. 194, ln. 22-25. Prior to September 22, 2020, plaintiff has never heard Det.
     Yao’s name. See Exhibit Q, p. 195, ln. 2-4.

     Response: Disputed. See Prior Response. Plaintiff’s recollection is not material, and
     it is undisputed that defendant Yao prepared the felony complaints that included
     the material false allegation that plaintiff made a Statement of Admission in
     connection with the Anyosa shooting, which DeCaro admitted at his deposition is
     not true. Decaro Dep., Harvis Decl., Exhibit 28, p. 195, ln. 18-25; see Signed Felony
     Complaints, Harvis Decl., Exhibit 36 at P1353-54.



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  126. Subsequently, Cheryl Johnson, plaintiff’s mother, hired Frederick Brewington as
     plaintiff’s criminal defense attorney. See Cheryl Johnson EBT Transcript (Exhibit
     VV) p. 52, ln. 20-23.

     Response: Undisputed.

  127. On November 5, 2008, and November 7, 2008, a pre-trial suppression hearing
     was held in front of Nassau County Court Honorable Philip Grella. See generally
     Exhibit P. ADA Larocca handled the pre-trial hearing for NCDA and plaintiff was
     represented by Mr. Brewington. See generally Exhibit P.

     Response: Undisputed.

  128. Det. Lipson, Det. Decaro, Det. Cunningham, and Det. Ross testified during the
     pre- trial suppression hearing. See Exhibit P, p. 6 – p. 249. Plaintiff’s criminal
     defense attorney, Fred Brewington, cross-examined Det. Lipson, Det. Decaro, Det.
     Cunningham and Det. Ross on discrepancies in plaintiff’s height, hairstyle, lack of
     accent, age, as well as cross-examined all these witnesses about plaintiff’s arrest,
     questioning, photo array identification procedures, and line-up identification
     procedure. See Exhibit P, p. 6 – p. 249.

     Response: Disputed. Defendants’ conduct deprived plaintiff of evidence (and
     resulted in the creation of evidence against plaintiff) that could have materially
     impacted the hearings, including, inter alia, defendants’ coercion of Ogletree and
     the improprieties in the identification procedures. See Dysart Report, Harvis Decl.,
     Exhibit 4, Section VI.3 (pp. 10-12) (Photo Array Filler Bias); see also id. at Section VI.5
     (pp. 14-15) (Use of a Non-blind Lineup Administrator Rather Than a Double-blind
     Administrator);       Section      VI.6     (pp.        15-16)         (Pre-identification
     Warnings/Instructions); Section VI.7 (pp. 16-17) (Repeated Identification
     Procedures, Unconscious Transference and Commitment Effects); Section VI.8 (pp.
     17-18) (Witness Confidence & Post-identification Feedback); Section VI.9 (pp. 19-
     20) (Post-event Contamination).

  129. On November 7, 2008, after hearing testimony from Det. Lipson, Det. Decaro,
     Det.Cunningham, and Det. Ross, Hon. Philip Grella issued a decision on the pre-
     trial hearing. See Exhibit P, p. 278, ln. 17 – p. 284, ln. 4. Hon. Grella held that
     during the lineup process and during the questioning process, plaintiff was in lawful
     custody, and that there was sufficient probable cause when plaintiff was arrested. See
     Exhibit P, p. 278, ln. 17 – p. 284, ln. 4.


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     Response: Undisputed. However, given that plaintiff’s conviction was vacated and
     the record before the court below was incomplete, this is immaterial as a matter of
     law. See Response 128, supra.

  130. Hon. Grella also held that there was no suggestibility with regard to the
     procedure followed when Anyosa and Hernandez were presented with photo arrays,
     and “[t]here was no suggestibility with regard to the procedure that was followed.
     And there was nothing unreasonably or unduly suggestive in the wording that was
     used by police personnel during the showing of the photo arrays.” See Exhibit P, p.
     280, ln. 11-16.

     Response: Undisputed. However, given that plaintiff’s conviction was vacated and
     the record before the court below was incomplete, this is immaterial as a matter of
     law. See Response 128, supra.

  131. In addition, Hon. Grella held that the “photo arrays did not violate the
     constitutional rights of the [plaintiff].” See Exhibit P, p. 280, ln. 22-23. Moreover,
     Hon. Grella held that the court-ordered line-up was “fair, in compliance with the
     defendant’s constitutional and statutory rights. As a matter of fact, he had an
     attorney present. Neither he nor his attorney objected in any way to ant of the
     procedures.” See Exhibit P, p. 281, ln. 1-5. Furthermore, Hon. Grella found that the
     use of the hats during the lineup “was an attempt to protect the [plaintiff’s] rights and
     to ensure fairness. Furthermore, there was certainly no object rendered by either the
     defendant or the attorney who was present.” See Exhibit P, p. 281, ln. 9-13.

     Response: Undisputed. However, given that plaintiff’s conviction was vacated and
     the record before the court below was incomplete, this is immaterial as a matter of
     law. See Response 128, supra.

  132. Hon. Grella held that having the plaintiff and fillers sit, as well as the use of a sheet
     to cover plaintiff and the fillers was to keep things fair. See Exhibit P, p. 281, ln. 14-
     16. In addition, the Court held that “nothing was said or done to coerce or pressure
     or overly suggest to the individuals who viewed the line-up that they should in any
     way be unduly directed toward the defendant. And there was nothing unduly
     suggestive about the procedure of the lineup, the people that were used in the lineup,
     or any interaction that police personnel had with regard to the civilians who viewed
     the lineup.” See Exhibit P, p. 281 ln. 17-25.

     Response: Undisputed. However, given that plaintiff’s conviction was vacated and
     the record before the court below was incomplete, this is immaterial as a matter of

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     law. See Response 128, supra.

  133. Finally, the Court held that the two (2) written signed statements by plaintiff
     and the oral statement made by plaintiff were voluntarily offered, were not the subject
     of any coercion, were not the subject of any duress, were not the subject of any type
     of force or pressure from the police department, and that the statements were made
     after plaintiff was advised of his constitutional Miranda warnings. See Exhibit P, p.
     282, ln. 22 – p. 283, ln. 5.

     Response: Disputed. The statements at issue are immaterial to summary judgment
     and as defendants concede, they are in any event not related to the Anyosa shooting
     and do not constitute Statements of Admission. See Decaro Dep., Harvis Decl.,
     Exhibit 28, p. 195, ln. 18-25

  134. On November 13, 2008, Hon. Grella’s November 7, 2008 decision denying
     plaintiff’s motion to suppress was entered and filed with the Clerk’s Office of the
     County Court of Nassau County. See Hon. Grella’s Decision (Exhibit WW).

     Response: Undisputed. This is not a material fact.

  135. A few months before plaintiff’s criminal trial, ADA Larocca had a calendar
     conflict, and ADA Robert Schalk took over plaintiff’s case and handled plaintiff’s
     criminal trial. See Exhibit R, p. 55, ln. 2 – p. 56, ln. 9-14.

     Response: Undisputed. This is not a material fact.

  136. Mr. Ogletree was produced from jail and met with ADA Schalk a few days before
     trial. See Exhibit R, p. 33, ln. 11-15. When ADA Schalk met with Mr. Ogletree,
     they discussed his signed written statement where he stated that plaintiff had told
     him he shot a cab driver. See Exhibit R, p. 37, ln. 12 – p. 38, ln. 10; see also Exhibit
     Z. ADA Schalk “showed [Ogletree] the written statement that he had given to the
     police and went over it with him and to be clear, at no point in time did he ever say
     he was coerced, did he ever say he was threatened in any way.” See Exhibit R, 38, ln.
     4-9.

     Response: Disputed. Plaintiff’s innocence makes this assertion implausible. Ogletree
     owed no duty of candor to ADA Schalk – to the extent Ogletree was seeking to
     reveal the truth of plaintiff’s innocence he had reason to approach the situation as
     he did. Had he told ADA Schalk the truth, he would not have been called at trial.

  137. During this meeting, Mr. Ogletree did not make any allegations that his written
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     statement was coerced. See Exhibit R, p. 27, ln. 19-23. During this meeting, Mr.
     Ogletree told ADA Schalk the same thing that he told the NCPD Detectives on
     June 6, 2008, and said that the written statement that he signed was accurate. See
     Exhibit R, p. 25, ln. 1-7, 9-13; p. 44, ln. 14 –p. 45, ln. 12.

     Response: Disputed. See Prior Response.

  138. Hon. Alan L. Honorof presided over plaintiff’s criminal trial; the criminal case
     started with preliminary applications on February 17, 2009. See Exhibit D, p. 1-12.
     On February 18, 2009, the process of jury selection commenced, and on February
     19, 2009, a full jury was selected and was sworn. See Exhibit D, p. 26-224. On
     February 19, 2009, ADA Schalk delivered his opening statement (see Exhibit D, p.
     232-248), and then Mr. Brewington delivered his opening statement (see Exhibit D,
     p. 249-260).

     Response: Undisputed. This is not a material fact.

  139. During ADA Schalk’s opening statement, he did not mention that a composite
     sketch of the suspect was prepared by Det. Bischoff, and he did not mention that
     Anyosa and Hernandez positively identified plaintiff in the photo arrays that were
     presented to them. See Exhibit D, p. 232-248. During Mr. Brewington’s opening
     statement, Mr. Brewington brought up the composite sketch and the photo arrays.
     See Exhibit D, p. 249-260.

     Response: Disputed. Given plaintiff’s innocence and that his conviction has been
     vacated and the indictment dismissed based on new evidence, this is immaterial.
     Plaintiff disputes this characterization of the record.

  140. While ADA Schalk was only going to present evidence to the jury about the line-
     up procedure, “during opening statements Mr. Brewington referenced the sketch
     and referenced he photo pack identifications, which under normal New York State
     Criminal Procedure Law would never be admitted into evidence, but he opened the
     door to those items coming into evidence so yes, prior to their testimony I reviewed
     with them all of the identification procedures when normally I would never go over
     a photo pack or a sketch with the witness prior to trial because they would have been
     deemed inadmissible and it could be viewed as some sort of coaching otherwise.” See
     Exhibit R, p. 124, ln. 16 – p. 125, ln. 4.

     Response: Disputed. Given the vacatur of plaintiff’s conviction and the County
     CIU’s innocence finding, the intentions, conduct, evidentiary rulings, etc. of the

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     criminal court are immaterial. Plaintiff also disputes this characterization of the
     record.

  141. Since Mr. Brewington opened the door, Hon. Honoroff permitted ADA Schalk
     to present evidence to the jury regarding the composite sketch and the photo arrays.
     See Exhibit R, p. 66, ln. 14-18, p. 127, ln. 7 – p. 128, ln. 10.

     Response: Undisputed that the court articulated its ruling as such. However, this
     is immaterial.

  142. Mr. Ogletree was the first witness to testify at plaintiff’s criminal trial. See Exhibit
     R, p. 33, ln. 11-15; see generally Exhibit D, p. 261-262. Mr. Ogletree first alleged
     that he was coerced to sign a written statement that plaintiff had told him that he
     shot a cab driver by the chicken joint was when he testified at plaintiff’s criminal trial.
     See Exhibit R, p. 21, ln. 13 – p. 50, ln. 17; see Exhibit D, p. 262-p. 274, p. 297-p.
     331.

     Response: Undisputed. See Trial Tr., Harvis Decl., Exhibit 1, p. 262, ln. 20-274, ln.
     21 (Ogletree) (“They woke me up three something in the morning to sign the statement
     that they wrote.”); id. at, e.g., p. 303, ln. 14-23 (“…They say, You’re sure [plaintiff]
     didn’t tell you that he’s leaving the next morning because he shot somebody at the
     chicken spot? They just kept going on and on for hours trying to get him on some
     chicken spot. And, honestly, Josiah didn’t do it. He didn’t do that. But I was weak and
     they coerced it and they got me to sign that paper.”); id. at, e.g., p. 300, ln. 19-p. 303,
     ln. 16 (“…They brought a…sketch of somebody and they said, Who does this look like?
     And I’m telling them, I don’t know who that is…They start threatening me and trying
     to get me to say that it’s Josiah, or myself, I guess…I’m, like, Nah, that don’t look like
     him, Josiah got hair. As a matter of fact, he had an afro at the time.”); see also Ogletree
     Unsigned Statement, Harvis Decl., Exhibit 26.

  143. The Court deemed Mr. Ogletree as a hostile witness and ADA Schalk was allowed
     to impeach and cross-examine Mr. Ogletree even though he was a witness for the
     NCDA. See Exhibit R, p. 21, ln. 20-21; p. 22, ln. 3-21.

     Response: Undisputed. This is not a material fact.

  144. ADA Schalk did not investigate Ogletree’s claims that he was coerced into signing
     a statement against plaintiff because he believed he was lying as a result of, among
     other things, his prior conversation with Mr. Ogletree and Mr. Ogletree’s demeanor
     on the stand. See Exhibit R, p. 32, ln. 19-24; p. 50, ln. 6-17. When he testified, Mr.

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     Ogletree’s body language was tense and he did not want to make eye contact with
     ADA Schalk, with plaintiff or with Mr. Brewington. See Exhibit R, p. 26, ln. 15-18.

     Response: Disputed. Schalk testified that he discussed Ogletree’s coercion claim
     with Sheryl Anania, his supervisor at the District Attorney’s office who would go on
     to lead the CIU and exonerate plaintiff a decade later. See Schalk Deposition
     Testimony, annexed to the Harvis Decl. as Exhibit 56, p. 20, ln. 10-p. 24, ln. 21; p.
     32, ln. 14-p. 33, ln. 4. Because Ms. Anania’s role in plaintiff’s prosecution was not
     revealed at the time of her deposition, plaintiff was unable to question her about
     whether and to what extent that experience informed Anania’s decision to edit a
     statement to the criminal court made on behalf of the CIU’s CPL § 440.10(1)(g)
     motion. In the original version of her remarks, Anania had written that police
     misconduct did not contribute to the wrongful conviction, but that line was struck
     from the version of her remarks placed on the record. Anania Edited Remarks,
     annexed to the Harvis Decl. as Exhibit 8. While the state of mind and conduct of
     Schalk, a non-party, is immaterial to summary judgment, plaintiff respectfully again
     notes that plaintiff’s innocence corroborates Ogletree’s coercion claims.

  145. ADA Schalk spoke with Anyosa and Hernandez individually before they testified,
     and they both indicated that they were certain that plaintiff was the person that they
     had argued with, and that had shot Anyosa on May 15, 2008. See Exhibit R, p. 125,
     ln. 20-25.

     Response: Disputed. Hernandez could not say who shot Anyosa because he did not
     witness the shooting, and Anyosa told the CIU that he was unsure of the
     identification, that he had been told that he picked the right person and the same
     person as his friend, and that he wished police had told him plaintiff was 5’6”
     because he would have said “Josiah didn’t do it.” Anania Notes, Harvis Decl.,
     Exhibit 7 at P11448, P11455-11456; Dysart Report, Harvis Decl., Exhibit 4,
     Section VI.8 (pp. 17-19) (Witness Confidence & Post-Identification Feedback);
     Section VI.9 (pp. 19-20) (Post-Event Contamination); Hernandez Dep., Harvis
     Decl., Exhibit 30, p. 55, ln. 9-16 (admitting that when Hernandez viewed the
     lineup, he “recognize[d] the person in the lineup from when [he] had seen [him] in
     the photo array”).

  146. During the criminal trial, Anyosa identified Galloway as the person who he
     argued with on May 15, 2008. See Exhibit D, p. 377, ln. 2-13.




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     Response: Disputed in part. This misidentification was orchestrated by defendants.
     See supra at n.1, n.3, Response 24, Response 60; see generally Dysart Report, Harvis
     Decl., Exhibit 4.

  147. During the criminal trial, Hernandez identified Galloway as the person who he
     argued with on May 15, 2008. See Exhibit D, p. 465, ln. 24-25 – p. 466, ln. 1-7.

     Response: Disputed in part. Using a biased array, Hernandez was initially caused to
     misidentify plaintiff, which carried over to the lineup, where Hernandez picked
     plaintiff based on his appearance in the prior array. These flawed, successive
     procedures increased the likelihood that Hernandez would misidentify plaintiff at
     trial. Hernandez Dep., Harvis Decl., Exhibit 30, p. 55, ln. 9-16; see generally Dysart
     Report, Harvis Decl., Exhibit 4.

  148. Plaintiff’s attorney, Fred Brewington, cross-examined detectives, police officers,
     witnesses, and Anyosa about discrepancies between the plaintiff and the description
     of the suspect given by Hernandez and Anyosa. See generally Exhibit D. This
     included the height, weight, hair style, plaintiff’s lack of accent, plaintiff’s teeth, age,
     vehicle suspect was driving and vehicle suspect was arrested in. See generally Exhibit
     D.

     Response: Disputed in part. As discussed above, plaintiff did not have access to the
     evidence fairly conduct cross-examination.

  149. Fred Brewington also cross-examined witnesses regarding plaintiff’s and suspect’s
     hair. See generally Exhibit D. During the commission of the crime, the person who
     shot Anyosa had “short, cropped [hair], tight to the head was the description given
     by Mr. Anyosa. It was elicited that Mr. Galloway’s hair was potentially in corn rolls.
     Corn rolls depending on how that are rolled are cropped, short, hair tight to the
     head. That was litigated at the trial.” See Exhibit R, p. 106, ln. 5-15; see also generally
     Exhibit D.

     Response: Disputed in part. Defendants’ citation to the entire trial record and a few
     lines of the trial prosecutor’s hearsay recollection of what he was told about plaintiff’s
     hair is objectionable, and this assertion is immaterial as stated. As Professor Dysart
     explains in her report,

                Mr. Anyosa recalled that the perpetrator has short hair “cut
                [short] to the head” maybe an inch in length. [Trial Tr.,
                Harvis Decl., Exhibit 1, p. 441] and it was not cornrows or

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               braids. [Id. at 418]. He also testified that the photo of Mr.
               Galloway with braids shown by defense attorney at trial was
               completely different than the hair of the shooter. [Id. at 445].
               Mr. Hernandez testified that the perpetrator had short black
               hair about a half inch in length. Mr. Hernandez also testified
               that he knows the difference between short hair, afros,
               braids, and corn rows. [Id. at 465, 476-79]. At the trial, PO
               Horowitz testified that Mr. Galloway had messy cornrows
               when he was arrested on June 5, 2008 [Id. at 539], suggesting
               that the cornrows had been in for some time.

     Dysart Report, Harvis Decl., Exhibit 4, p. 8.

  150. On March 2, 2009, plaintiff testified at his criminal trial, and on the same day,
     rested his case. See Exhibit D, p. 997-1037, ln. 8-9.

     Response: Disputed. Other witnesses, including plaintiff’s mother, girlfriend and
     dentist testified truthfully about plaintiff’s physical appearance and alibi.

  151. On March 3, 2009, Mr. Brewington delivered his closing statement to the jury
     (see Exhibit D, p. 1046-1106), and then ADA Schalk delivered his closing statement
     (see Exhibit D, p. 1107-1145). On March 9, 2009, the jury rendered a verdict and
     found plaintiff guilty of all the criminal charges under Indictment No. 1315N/2008.
     See Exhibit D, p. 1244, ln. 19 – p. 1246, ln. 18.

     Response: Undisputed. However, given that this guilty verdict, and the criminal
     judgment into which it flowed, were vacated, with the indictment dismissed on the
     People’s motion on the grounds of plaintiff’s innocence following an ethically-
     mandated investigation, this is immaterial to summary judgment.

  152. On November 23, 2009, plaintiff was sentenced to 25 years imprisonment.
     See November 23, 2009 Transcript (Exhibit XX) p. 15, ln. 1 – p. 17, ln. 6. Plaintiff
     also pled guilty to a violation under Superior Court Information No. 2380N/2009
     with respect to the May 27, 2008 robbery. See Exhibit XX, p. 3, ln. 25 – p. 6, ln. 20.

     Response: Undisputed. However, we respectfully submit that plaintiff’s noncriminal
     plea to disorderly conduct is immaterial.

  153. After plaintiff was convicted after his criminal trial, he moved, pursuant to New
     York State Criminal Procedure Law (“C.P.L”) sections 210.20(1)(h) and 330.30, to

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     set aside the jury’s verdict convicting him of the criminal charges under Indictment
     No. 1315N/2008 on “the grounds that the verdict was against the weight of the
     evidence, that the identification of defendant was unduly suggestive, that the
     prosecutor made improper and inflammatory statements during summation, that
     the People shifted the burden in that they asked the jury to draw negative inferences
     from the defendant’s failure to produce evidence, that the court abused its discretion,
     regarding the jury’s deliberations, and that the People improperly solicited testimony
     regarding the showing of photographs to witnesses on their direct case.” See
     September 16, 2009 Decision (Exhibit YY).

     Response: Undisputed. However, this is not material.

  154. On September 16, 2009, the trial Court held that defense counsel opened the
     door, and that “in his opening statement, [Mr. Brewington] inferred that the People
     were improperly hiding evidence of photographic identifications from the jury. In
     response to the prosecutor’s objection, the court gave a curative instruction and
     allowed the aforementioned testimony.” See Exhibit YY. Plaintiff’s motion to set
     aside the verdict was denied. See Exhibit YY.

     Response: Undisputed. However, this is not material.

  155. Christopher Todd, Esq. is the Deputy Bureau Chief of the Legal Bureau of the
     NCPD. See Declaration of Christopher Todd, Esq. (Exhibit ZZ).

     Response: Disputed in part. This evidence was not exchanged in discovery and this
     is not material.

  156. On August 6, 2002, the NCPD issued Detective Division Administrative Order
     2002-54 titled “Criminal Identification (HIDTA System, Composite Sketch,
     Lineups & Showups).” See Exhibit ZZ, Exhibit 1. This NCPD Order was the policy
     for the NCPD for identification procedures at the time of the investigation, arrest,
     prosecution and criminal trial of plaintiff. See Exhibit ZZ, Exhibit 1; see also Exhibit
     OO, p. 11, ln. 8-21.

     Response: Disputed. Other sources constitute defendants’ policies, including the
     County’s 30(b)(6) testimony and the testimony of the individual defendants. The
     record also contains other evidence of defendants’ written policies and of other
     written policies relevant to the issues in dispute that has been exchanged in discovery.

  157. Per NCPD Order 2002-54, NCPD detectives conducting line up procedures

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     were to make every effort “to have the participants in an identification line up match
     the physical appearance of the subject. Variations of height and clothing may be
     overcome by seating the participants.” See Exhibit ZZ, Exhibit 1, p. 3.

     Response: Disputed. The policy is immaterial to summary judgment, except to the
     extent that it establishes the County’s liability under Monell, and the evidence here
     is that the officers admittedly did not make any effort, let alone every effort, to have
     the fillers match plaintiff’s physical appearance. See Dluginski Dep., Harvis Decl.,
     Exhibit 34, p. 321, ln. 4-17; see also Figure 2, supra.

  158. The use of hats on all participants (suspect and fillers) in a line up procedure
     administered by the NCPD was not uncommon. See Exhibit NN, p. 33, ln. 3 – p.
     34, ln. 4; see also Exhibit QQ, p. 28, ln. 5-9.

     Response: Disputed in part. Plaintiff agrees, for the purposes of assessing Monell
     liability, that the County had a policy of using hats in its lineup procedures that,
     given plaintiff’s hair and other features, see Figures 1 & 2, supra, likely contributed
     to plaintiff’s wrongful conviction. However, plaintiff respectfully notes that
     defendant Ross testified that on August 14, 2008 he had to go out and purchase hats
     for plaintiff’s lineup, suggesting hats were not commonly used in that era. See Ross
     Dep. II, Harvis Decl., Exhibit 43, p. 96, ln. 7-14. In any event, it is undisputed that
     here defendants Ross, Dorsi, Dluginski and Darienzo used hats to deprive plaintiff
     of the exonerating characteristic of his hair, which Anyosa and Hernandez each
     testified was (like his height, age, etc.) inconsistent with that of the perpetrator and,
     if revealed, would have resulted in plaintiff’s exoneration. See Response 102, supra;
     Dysart Report, Harvis Decl., Exhibit 4, pp. 3-22.

  159. Per NCPD Order 2002-54, “investigating detectives are advised that if a Photo
     Pack identification has been used prior to an identification lineup, the position of
     the suspect should be different in the lineup than it was in the Photo Pack.” See
     Exhibit ZZ, Exhibit 1, p. 3.

     Response: Undisputed. However, this is not a material fact and the record establishes
     that the photo arrays prepared by defendant Lipson were biased against plaintiff. See
     Dysart Report, Harvis Decl., Exhibit 4, Section VI.3 (pp. 10-12) (Photo Array Filler
     Bias); Decaro Dep., Harvis Decl, Exhibit 28, p. 84, ln. 19—24; p. 91, ln. 15-23.

  160. Per NCPD Order 2002-54, “the investigating detective should maintain a record
     of all persons, including the attorneys, present in the course of an identification
     lineup. The position and identification of each individual at all phases will also be

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     recorded and maintained as evidence.” See Exhibit ZZ, Exhibit 1, p. 4. In addition,
     photographs should be taken of every phase of the identification lineup; the NCPD
     Crime Scene Search Section should be requested to photograph the proceedings. See
     Exhibit ZZ, Exhibit 1, p. 4.

     Response: Undisputed. This is not material. See Dysart Report, Harvis Decl., Exhibit 4,
     Section VI.3 (pp. 10-12) (Photo Array Filler Bias); Decaro Dep., Harvis Decl, Exhibit
     28, p. 84, ln. 19—24; p. 91, ln. 15-23.

  161. A photo array identification procedure is administered in a double blind fashion
     when the administrator of the photo array does not know who the suspect is. See
     Exhibit O, p. 121, ln. 10 – p. 122, ln. 11; see also Exhibit ZZ, Exhibit 3, p. 13.; see
     also Exhibit OO, p. 17, ln. 12-21; see also Jeffrey Noble EBT Transcript (Exhibit
     AAA), p. 25, ln. 10-25.
     Response: Disputed. As Professor Dysart explains in her report on this topic,

               Double-blind administration, where the person conducting
               an identification procedure does not know who the suspect
               is, eliminates the possibility that the person conducting the
               procedure can influence the witness’ selection toward the
               suspect and/or away from a lineup filler. We know that
               police sometimes conduct lineups in a manner that clearly
               shows how their knowledge of which person is the suspect
               can lead them to say things that focus the eyewitness on the
               suspect. We also know that what the person administering
               the lineup says to the eyewitness at the time the eyewitness
               makes a selection has strong effects on the confidence of the
               witness, easily leading a “tentative identification” eyewitness
               to become positive in their identification, even when the
               identification is of an innocent person. The most effective
               method of eliminating police bias or suggestion is to have an
               officer who does not know the identity of the suspect
               conduct the identification procedure. In this case, both
               identification procedures were conducted by administrators
               who knew the identity of the suspect, Mr. Galloway.

     Dysart Report, Harvis Decl., Exhibit 4, p. 14 (citations omitted).

  162. In 2008, the NCPD policy for identification procedures with respect to the

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     administration of photo arrays was different than it is in 2022; in 2008, the
     guidelines did not suggest that a photo array was to be administered in a double
     blind fashion. See Exhibit OO, p. 19, ln. 4 – p. 20, ln. 6.

     Response: Disputed in part. Defendants’ obligation to fairly administer
     identification procedures derives from the U.S. Constitution, including the Fourth
     and Fourteenth Amendments, and is independent of any policy they elect to adopt.
     It is undisputed that defendants did not use a double-blind array with Hernandez
     or Anyosa. Dysart Report, Harvis Decl., Exhibit 4, pp. 10-12.

  163. On July 7, 2010, the NCPD Department Notification Number 10-119 was
     issued. See Exhibit ZZ, Exhibit 2.

     Response: Undisputed. However, this is immaterial.

  164. On August 9, 2011, the NCPD Department Notification Number 11-115, along
     with accompany exhibits, was issued and adopted by the NCPD with respect to
     Identification Procedures. See Exhibit ZZ, Exhibit 3.

     Response: Undisputed. However, this is immaterial.

  165. Jeffrey Noble was disclosed as plaintiff’s police practices expert and prepared an
     expert report. See Plaintiff’s Rule 26(a)(2) disclosure (Exhibit BBB); see also Exhibit
     AAA, p. 46, ln. 6-14; see also Expert Report of Jeffrey J. Noble (Exhibit CCC).

     Response: Undisputed.

  166. In cases where the victim does not know the suspect who committed a crime, it
     is common for the police to use identification procedures such as photo arrays and
     line-ups. See Exhibit AAA, p. 20, ln. 21 – p. 21, ln. 6.

     Response: Undisputed. However, this is not a material fact.

  167. Jeffrey Noble did not criticize the NCPD detectives for not administering a
     double blinded (sic) photo array. See Exhibit AAA, p. 29, ln. 5-7 (“I am not
     criticizing them in this case for a double blind.”).

     Response: Undisputed. However, plaintiff respectfully notes that Dr. Jennifer E.
     Dysart, who defendants elected not to depose, is plaintiff’s expert on eyewitness
     identifications and devoted an entire section of her report to the issue of non-blind
     identification procedures in this case. See Dysart Report, Harvis Decl., Exhibit 4,

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      Section VI.5 (pp. 14-15) (Use of a Non-blind Lineup Administrator Rather Than a
      Double-blind Administrator).

  168. Other than officers (sic) testimony in this case, Jeffrey Noble does not have any
     other information or knowledge as to how lineups were conducted in Nassau
     County in 2008. See Exhibit AAA, p. 33, ln. 18-23.

      Response: Undisputed. This is immaterial and plaintiff respectfully notes that Dr.
      Jennifer E. Dysart, plaintiff’s eyewitness identification expert who defendants
      elected not to depose, lectured to the Nassau County Bar Association in March
      2008 and to the Nassau County Legal Aid Society in May 2009. See Dysart Report,
      Harvis Decl., Exhibit 4, C.V. Entries at pp. 35, 38. Professor Dysart’s report also
      discusses several aspects of Nassau County identification procedures that were in
      force at the time of plaintiff’s wrongful conviction. See id. at Section VI.4 (Live
      Lineup Bias – August 14, 2008) (pp. 12-14); id. at p. 2, n.2 (discussing Nassau
      County supporting deposition forms); id. at p. 5, n.5 (discussing Nassau County
      lineup forms); id. at p. 7, n.8 (same); id. at p. 11, n.23, p. 14 (discussing Nassau
      County’s adoption of double-blind protocols); p. 18 (discussing training); see also
      id. at p. 3 (“In addition to the above listed materials, I have specifically requested a
      copy of the Nassau County eyewitness identification policies and procedures that
      were in place in May 2008 and any current policies and procedures. As of the date
      of submission of this report, I have not received these documents and understand
      that they are not yet in the possession of Mr. Galloway’s counsel. When I receive
      these documents, I reserve the right to supplement and/or edit my report where I
      deem relevant based on this additional information.”).5

  169. For purposes of generating his expert report in this case, Jeffrey Noble did not
     review anything from the New York State Division of Criminal Justices Services. See
     Exhibit AAA, p. 57, ln. 5 – p. 58, ln. 8.

      Response: Undisputed. This is immaterial.

  170. Jeffrey Noble is not familiar with the District Attorneys Association of the State
     of New York (“DAASNY”) and is not familiar with the DAASNY Best Practices
     Committee. See Exhibit AAA, p. 58, ln. 9-17.


  5
    If it should please the Court, because of litigation surrounding the disqualification of defendants’ prior counsel, a
  discovery stay was entered on July 16, 2021, shortly after plaintiff’s expert reports were produced, and plaintiff was not
  able to obtain policy documents and 30(b)(6) testimony from Nassau County related to eyewitness identifications until
  approximately eighteen months after the Noble and Dysart Reports had been prepared and served.

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     Response: Undisputed. This is immaterial as it appears this committee did not issue
     a publication until after plaintiff was misidentified and wrongfully convicted.

  171. Jeffrey Noble did not review anything from the District Attorneys Association of
     the State of New York, including their Best Practices Committee, with respect to
     this case. See Exhibit AAA, p. 59, ln. 3-14.

     Response: Undisputed. This is the same as Fact 170, supra, and is immaterial for the
     same reasons.

  172. Jeffrey Noble did not review any policies or procedures of Nassau County
     concerning the administration of line-ups and photo arrays. See Exhibit AAA, p. 80,
     ln. 4-13.

     Response: Undisputed. However, this is immaterial. See Response 168, supra.

  173. Jeffrey Noble did not see any training material, and did not search for training
     material, for how Nassau County trained their police officers in 2008 with respect to
     identification procedures. See Exhibit AAA, p. 90, ln. 16 –p. 91, ln. 10.

     Response: Undisputed. However, this is immaterial. See Response 168 & n.6, supra.

  174. Jeffrey Noble is not aware of any evidence that Mr. Ogletree told anyone that he
     was coerced prior to the time that he took the witness stand at plaintiff’s criminal trial.
     See Exhibit AAA, p. 91, ln. 17-24.

     Response: Undisputed. However, this is immaterial. See Response 136, supra.

  175. John Monaghan was disclosed as defendants police practices expert and prepared
     an expert report for this case. See Defendants Rule 26(a)(2) disclosure (Exhibit
     DDD).

     Response: Undisputed. However, this is immaterial.

  176. John Monaghan relied on a number of documents to prepare an expert report
     for this case. See John Monaghan, EBT Transcript (Exhibit EEE) p. 106, ln. 12-16.
     Included in the documents John Monaghan reviewed was a public article about the
     District Attorneys Association of the State of New York (“DAASNY”), the
     DAASNY’s Best Practices Committee, and Identification Procedures. See Exhibit
     DDD, p. 21, 29-31 (p. 17, 25-27 of Monaghan’s Expert Report); see also The
     Prosecutor: Statewide Best Practices Committees for Prosecutors: Leveraging

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     Experience and New Evidence to Benefit the Criminal Justice System. By Kristine
     Hamann, October, November, December 2013 (Exhibit FFF).

     Response: Disputed in part. Mr. Monaghan never worked as a detective and never
     conducted a lineup or photo array (and never worked for Nassau County). As such,
     Mr. Monaghan is not qualified to provide expert testimony on eyewitness
     identifications and plaintiff will be moving to preclude his testimony. In any event,
     the identification procedures defendants conducted in 2008 conflict with the best
     practices as outlined in the report cited here. See New York State Lineup Procedure
     Guidelines, annexed to the Harvis Decl. as Exhibit 52, p. 2 (“the witness should not
     be informed that an arrest has been made and that the police have a suspect”); (“The
     fillers should be similar in appearance to the suspect in the line-up. Similarities
     should include gender, clothing, facial hair, race, age, height, extraordinary physical
     features, or other distinctive characteristics.”); p. 4 (“Witnesses Cannot Speak to
     Other Witnesses About the Identification”); p. 7 (“Do Not Comment on the
     Identification: The administrator should not comment or make gestures on the
     identification itself by saying things such as: ‘Great job’ or ‘We knew you would
     recognize him’ or even nodding his head in agreement. Such comments or reactions
     may subsequently affect the witness’ confidence in his or her identification. The
     administrator should remain neutral about the identification when speaking with
     the witness.”) (emphasis added); 7-8 (“Do Not Discuss the Identification with other
     Witnesses: The witness should be told not to discuss what was said, seen or done
     during the identification procedure with other witnesses, nor should the investigator
     discuss any other identification procedures with the witness.”). See New York State
     Lineup Procedure Guidelines dated February 22, 2011, annexed to the Harvis Decl.
     as Exhibit 52.

  177. In early July 2018, an individual called the NCDA with information regarding
     Anyosa’s shooting. See September 13, 2018 Transcript (Exhibit GGG) p. 2, ln. 22-
     25. This person told the NCDA Conviction Integrity Unit that she was aware that
     the wrong person was convicted of this crime. See Exhibit GGG, p. 3, ln. 2-4. This
     individual provided information and “[t]his information led us to additional
     witnesses who were unknown at the time of the trial.” See Exhibit GGG, p. 3, ln. 7-
     8.

     Response: Disputed in part. Plaintiff agrees that Nadine Johnson contacted the
     County about Kenton Sherwood in 2018. See n.1, supra (citing Harvis Decl.,
     Exhibit 6 at DA3368). However, evidence in the record suggests the County might
     have been notified through its tip line as early as May 16, 2008. See Reinvestigation

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     Notes of Michael Walsh, Harvis Decl. Exhibit 9, P8245; Deposition Testimony of
     Michael Walsh, Harvis Decl., Exhibit 10, p. 20 (discussing tip line note).

  178. “At the time of [plaintiff’s] trial, any and all exculpatory information was provided
     by the prosecution to the defense including any discrepancies between the
     perpetrator’s description and [plaintiff]. These discrepancies were thoroughly
     explored by the defendant’s attorney and argued to the jury. The defendant and two
     alibi witnesses also testified. The prosecution called to the stand a friend and former
     co-defendant of [plaintiff] who allegedly told the police that [plaintiff] confessed
     that he had shot the cab driver. Nonetheless, the witness recanted on the witness
     stand stating that [plaintiff] had never confessed to him. After the trial, Mr.
     Galloway’s trial lawyer made a motion to dismiss the jury’s verdict which was
     denied.” See Exhibit GGG, p. 3, ln. 25 – p. 4, ln. 13.

     Response: Disputed in part. The record suggests that the District Attorney should
     have been aware of improprieties in the identification procedures, including the
     tactics used to obtain statements from Ogletree and the identifications from Anyosa
     and Hernandez. While Ms. Anania stated in this passage that prosecutors had not
     committed misconduct in wrongfully convicting plaintiff, her office did not express
     the same view regarding the defendant officers. See Anania Edited Remarks, Harvis
     Decl., Exhibit 8.

  179. On September 13, 2018, after application by the NCDA, Hon. Teresa Corrigan
     ordered that plaintiff’s convictions under Indictment No. 1315N-2008 were vacated
     pursuant to C.P.L. section 440.10(1)(g) and that the Indictment was dismissed with
     prejudice. See Exhibit GGG; see also Hon. Corrigan Decision (Exhibit HHH).

     Response: Undisputed.

  180. Between the time of plaintiff’s conviction on March 9, 2009, and the time that
     plaintiff’s convictions were vacated and indictment dismissed on September 13,
     2018, plaintiff did not file an appeal on his case. See Exhibit GGG, p. 4, ln. 22-23.

     Response: Disputed in part. Plaintiff, who defendants concede is innocent, filed a
     notice of appeal following his conviction and was granted poor person status by
     order dated February 24, 2012. Plaintiff then filed a motion to restore the appeal
     to active status and appoint counsel, which was granted by order of the Appellate
     Division, Second Department dated January 30, 2018. See Order, annexed to the
     Harvis Decl. as Exhibit 57. Plaintiff was exonerated while his assigned counsel, Mr.
     DeFelice, was finalizing his appeal. See Letter Withdrawing Appeal dated

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     September 18, 2018, annexed to the Harvis Decl. as Exhibit 58.

  181. On September 21, 2018, Mr. Galloway served a notice of claim on the County
     and the Village. See Notice of Claim (Exhibit III).

     Response: Undisputed.

  182. On December 20, 2018, Mr. Galloway gave sworn testimony at an examination
     held pursuant to Section 50-h of the New York General Municipal Law. See
     Plaintiff’s 50-H Examination Transcript (Exhibit JJJ).

     Response: Undisputed.

  183. On September 4, 2019, Mr. Galloway commenced the instant action. See D.E.
     1.

     Response: Undisputed.

  184. On May 11, 2021, Mr. Galloway filed his FAC. See Exhibit A.

     Response: Undisputed.

  185. Plaintiff’s FAC alleges nine claims for relief: (i) a Section 1983 malicious
     prosecution claim brought against Det. Horowitz, Det. Cunningham, Det. Decaro,
     Det. Sortino, Det. Lipson, and Det. Dluginski) (id. at ¶¶85-92); (ii) a Section 1983
     claim alleging fabrication of evidence, denial of a fair trial and Brady violations
     against all the individual HPD and NCPD detectives named as defendants (id. at
     ¶¶93-101); (iii) a Section 1983 supervisory liability claim against Det. Sgt. Dorsi
     and Det. Sortino (id. at ¶¶102-105); (iv) a New York State Law claim for false
     imprisonment and malicious prosecution against the County and the Village by
     respondeat superior (id. at ¶¶106-112); (v) an intentional or negligent infliction of
     emotional distress claimgainst the County and the Village by respondeat superior (id.
     at ¶¶113-116); (vi) a Section 1983 conspiracy claim against all individual HPD
     and NCPD detectives named as defendants (id. at ¶¶117-122); (vii) an unlawful
     pre-trial detention in violation of the Fourth Amendment and Russo v. Bridgeport,
     479 F.3d 196 (2d Cir. 2007) claim against all individual HPD and NCPD detectives
     named as defendants (id. at ¶¶123-125); (viii) a Section 1983 claim for “failure to
     intervene” asserted against all individual HPD and NCPD detectives named as
     defendants (id. at ¶¶126-128); and (ix) a Monell claim against the County (id. at
     ¶¶129-133).


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     Response: Undisputed.

  186. On May 17, 2021, the County filed their answer to the FAC, denying all of the
     material allegations and asserting various affirmative defenses. See Exhibit B.

     Response: Undisputed.

  187. On May 20, 2021, the Village filed their answer to the FAC, denying all of the
     material allegations and asserting various affirmative defenses. See Exhibit C.

     Response: Undisputed.

  Additional material facts alleged to be in dispute
      1. Dluiginski told Anyosa he picked the right guy on June 6, 2008. Anania Notes,
  Harvis Decl., Exhibit 7 at P11448, P11455-11456.
      2. Lipson told Anyosa he picked the right guy on June 6, 2008. Anania Notes,
  Harvis Decl., Exhibit 7 at P11448, P11455-11456.
      3. Lipson or Dluginski told Anyosa Hernandez picked the same person. Anania
  Notes, Harvis Decl., Exhibit 7 at P11448, P11455-11456.
      4. Anyosa didn’t feel confident identifying plaintiff but did so because the detectives
  told him he picked the right person. Anania Notes, Harvis Decl., Exhibit 7 at P11448,
  P11455-11456.
      5. Ogletree was coerced. Ogletree Trial Testimony, annexed to the Harvis Decl. as
  Exhibit 1, p. 262, ln. 20-274, ln. 21; id. at, e.g., p. 303, ln. 14-23; id. at, e.g., p. 300, ln. 19-
  p. 303, ln. 16.
      6. The photo arrays were biased. Dysart Report, Harvis Decl., Exhibit 4, Section VI.3
  (pp. 10-12) (Photo Array Filler Bias).
      7. The lineups were biased. Dysart Report, Harvis Decl., Exhibit 4, Section VI.4
  (pp. 12-14) (Live Lineup Bias – August 14, 2008).
      8. The use of phone books contributed to plaintiff’s misidentification at the lineups.
  Dysart Report, Harvis Decl., Exhibit 4, Section VI.4 (pp. 12-14) (Live Lineup Bias –
  August 14, 2008).
      9. The use of sheets contributed to plaintiff’s misidentification at the lineups.
  Dysart Report, Harvis Decl., Exhibit 4, Section VI.4 (pp. 12-14) (Live Lineup Bias –
  August 14, 2008).
      10. The use of hats contributed to plaintiff’s misidentification at the lineups. Dysart
  Report, Harvis Decl., Exhibit 4, Section VI.4 (pp. 12-14) (Live Lineup Bias – August

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  14, 2008)
     11. Defendants failed to investigate plaintiff’s alibi. See Trial Tr., Harvis Decl.,
  Exhibit 1, pp. 17-18.
     12. Sortino and Decaro signed false accusatory instruments. Decaro Dep., Harvis
  Decl., Exhibit 28, p. 195, ln. 18-25; see Signed Felony Complaints, Harvis Decl.,
  Exhibit 36 at P1353-54.
     13. Plaintiff does not resemble the composite prepared by Bischoff. Trial Tr., Harvis
  Decl., Exhibit 1, p. 300, ln. 19-p. 303, ln. 16 (Ogletree).
     14. Tonya Barrett or Nadine Johnson called the tip line on June 6, 2008. See
  Reinvestigation Notes of Michael Walsh, Harvis Decl. Exhibit 9, P8245; Deposition
  Testimony of Michael Walsh, Harvis Decl., Exhibit 10, p. 20 (discussing tip line note).
     15. Defendants concealed plaintiff’s height from Jorge Anyosa. Dluginksi Dep.,
  Harvis Decl., Exhibit 34, p. 264, ln. 25-p. 266, ln. 17.

  Dated: September 28, 2022
         Briarcliff Manor, New York

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